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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

    NATIONAL ATM COUNCIL, INC., et al.,

                  Plaintiffs,

           v.                                 Civil Action No. 1:11-cv-01803-RJL

    VISA INC., et al.,

             Defendants.
    LYNNE BARTRON, et al.,

                  Plaintiffs,

           v.                                 Civil Action No. 1:11-cv-01831-RJL

    VISA INC., et al.,

              Defendants.
    PETER BURKE, et al.,

                  Plaintiffs,

           v.                                 Civil Action No. 1:11-cv-01882-RJL

    VISA INC., et al.,

                  Defendants.

                    VISA AND MASTERCARD DEFENDANTS’
                    MEMORANDUM OF LAW IN OPPOSITION
            TO PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION AND
         APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL



                                 FILED UNDER SEAL




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                                  PRELIMINARY STATEMENT

        No class should be certified, much less three, in this litigation challenging non-

discrimination rules that Visa and Mastercard adopted over two decades ago. The non-

discrimination rules protect cardholders, like the consumer plaintiffs here, by providing them the

lowest available surcharge for cash withdrawals over Visa’s and Mastercard’s ATM networks

(known as Visa/Plus and Cirrus, respectively). These rules encourage more banks to issue ATM

cards enabled on Visa/Plus and Cirrus, more consumers to use Visa/Plus and Cirrus, and more

ATM operators to accept Visa/Plus and Cirrus. That is why all leading ATM networks have

similar rules. It is also why rival ATM networks—with larger market share—adopted non-

discrimination rules before Visa and Mastercard did. Far from being the cause of consumer

injury, these rules actually prevent it.

        Notwithstanding these clear benefits, three separate groups of plaintiffs—two sets of

consumers and one set of independent ATM operators—claim to have been injured by Visa’s

and Mastercard’s non-discrimination rules.1 (The non-discrimination rules of the other ATM

networks are not challenged here.) To have their classes certified, each set of plaintiffs must

show that common evidence can establish injury for all members of their respective classes.

Each plaintiff group has failed to do so. Plaintiffs’ inability to satisfy that threshold burden is

fatal to their motions for class certification.



1
    “Mackmin Plaintiffs” refers to the putative class in Mackmin v. Visa, Case No. 11-1831,
    which includes cardholders who transacted at bank ATMs; “Burke Plaintiffs” refers to the
    putative class in Burke v. Visa, Case No. 11-1882, which includes cardholders who
    transacted at independent ATMs; “Consumer Plaintiffs” refers to the Mackmin Plaintiffs and
    Burke Plaintiffs collectively; and “Operator Plaintiffs” refers to the putative class in National
    ATM Council v. Visa, Case No. 11-1803. “Defendants” refers to Visa Inc., Visa U.S.A. Inc.,
    Visa International Service Association, and Plus System, Inc. (“Visa Defendants”) and
    Mastercard Incorporated and Mastercard International Incorporated (“Mastercard
    Defendants”).
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       The Consumer Plaintiffs claim injury from ATM surcharges that they allege were set

above a competitive level. But Visa and Mastercard do not impose, set, or collect surcharges.

ATM operators do. Recognizing as much, Consumer Plaintiffs allege that Visa’s and

Mastercard’s fee changes, including increases in “acquirer fees” (which ATM operators may

pay, either directly or indirectly), have caused ATM operators to raise their surcharges.

Consumer Plaintiffs cannot prove with common evidence, however, that all ATM operators have

raised surcharges because of Visa/Plus and Cirrus fees.

       The Mackmin Plaintiffs and their expert Professor Carlton claim



                                                                                       . The

Burke Plaintiffs and their expert Dr. Lehr



    . The Consumer Plaintiffs thus have assumed away the very question they must be prepared

to answer with common evidence—whether ATM operators did or did not raise their surcharges

in response to Visa/Plus and Cirrus fees. Consumer Plaintiffs’ failure to satisfy their burden is

unsurprising:




       Any consumer who used only an ATM that did not adjust surcharges in response to

Visa/Plus or Cirrus fees was not injured.

                                                      Defendants’ economic expert, Professor


                                                 2
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Hubbard, applied Professor Carlton’s methodology to

                          . Professor Hubbard demonstrates




                                                     The presence of these uninjured consumers

within the putative Mackmin and Burke classes defeats certification.

       The Operator Plaintiffs likewise claim to have been injured by Visa/Plus and Cirrus fees,

but they cannot prove with common evidence that all members of their proposed class actually

paid those fees. To the contrary,




       In addition to plaintiffs’ failure to identify common proof, their methodologies for

proving class-wide injury suffer from additional fatal defects. Each set of plaintiffs relies on

methodologies to identify antitrust injury that the Supreme Court rejected only two years ago. In

Ohio v. American Express, 138 S. Ct. 2274 (2018) (“Amex”), the Supreme Court held that


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antitrust claims arising from two-sided transaction platforms, like the ATM networks at issue

here, must account for competition on both sides of the platform.




                                                      . Following Amex, the one-sided analysis

conducted by all plaintiffs’ experts is not permissible. 138 S. Ct. at 2286–87.2

        Another methodological flaw in their models provides further grounds to deny Consumer

Plaintiffs’ motions. Under Comcast, plaintiffs must come forward with injury and damages

models that correspond with their theory of injury. Consumer Plaintiffs have failed to do so

here. Both sets of Consumer Plaintiffs identify                                     , but then

                                                                                . Consumer

Plaintiffs

                              . In the absence of a methodologically sound damages model,

neither consumer class can be certified.

        The Operator Plaintiffs have also failed to meet their burden of showing that their

proposed class is ascertainable. Their class definition lacks objective criteria for “ATM

operator,” potentially sweeping in diverse entities that play various roles in the industry, and is

therefore hopelessly vague. It is impossible to know which entities are within the class and

which are outside of it. The testimony of the proposed class representatives and their experts

regarding class composition has only compounded the muddle.




2
    As discussed below, Plaintiffs cannot rest on the theory of injury described in the D.C.
    Circuit’s motion to dismiss decision in these cases, Osborn v. Visa, 797 F.3d 1057, 1060
    (D.C. Cir. 2015), in light of the two-sided market analysis subsequently required by the
    Supreme Court in Amex. 138 S. Ct. at 2286–87.
                                                  4
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       Furthermore, all three proposed classes are administratively infeasible. Plaintiffs are

unable to identify the uninjured class members referenced above and winnow them from the

class, but even if they could identify a methodology for doing so, it would require an

individualized inquiry for hundreds of thousands of class members. For consumers, that inquiry

would cover (1) whether they paid an unreimbursed surcharge (2) at an ATM that raised its

surcharges (3) because of Visa/Plus and Cirrus fees, and (4) whether the ATM was bank or

independently operated. For ATM operators, it would cover whether the entity (1) qualifies as a

class member in light of its business model and contractual obligations, (2) actually paid

Visa/Plus and Cirrus fees, and (3) actually had the ability to set surcharges. None of the plaintiff

groups has come forward with a methodology for identifying class members, much less a

feasible one.

       The Consumer Plaintiffs have also failed to carry their burden of showing that

prospective equitable relief would benefit the class as a whole, as required by Rule 23(b)(2).

Eliminating the Visa and Mastercard non-discrimination rules on a prospective basis would

injure cardholders using Visa/Plus and Cirrus, who would face higher surcharges in the aftermath

of the rules’ repeal. Finally, the Burke Plaintiffs have failed to identify adequate class

representatives or show that their state claims can be resolved on a class-wide basis.

       For all of these reasons, any one of which would be sufficient, each plaintiff group has

failed to carry its burden of demonstrating that class certification is warranted. Plaintiffs’

motions should be denied.




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                                        BACKGROUND

A.      The ATM Industry Is Decentralized, Heterogeneous, and Multi-Faceted

        1.      ATM Transaction Participants

        Consumers are able to use ATMs to access cash in their depository accounts in two ways.

First, consumers can use an ATM operated by the bank that issued their ATM cards. These

transactions are completed internally over the bank’s own ATM fleet, and are referred to as “on-

us” transactions.3 Second, consumers can use a “foreign” ATM—that is, an ATM that is not

owned or operated by their own bank. These transactions are referred to as “off-us” transactions.

Whenever a consumer initiates an off-us ATM transaction, the ATM terminal he or she uses

communicates with the consumer’s bank through an ATM network, which facilitates the

transaction.4

        Foreign ATM transactions can occur either at an ATM operated by another bank (a “bank

ATM”) or at an ATM not operated by a bank at all (an “independent ATM,” such as those

operated by Cardtronics or Payment Alliance International).5 For an independent ATM to accept



3
     See Ex. 1 to Declaration of Rosemary Szanyi in Support of Defendants’ Opposition to
     Plaintiffs’ Motion for Class Certification, Fumiko Hayashi, Richard Sullivan, and Stuart E.
     Weiner, A Guide to the ATM and Debit Card Industry, Federal Reserve Bank of Kansas City
     34 (2003) (MC-ATM-00251941) (All other exhibits to the Szanyi declaration are cited in the
     form “Ex. __.”); Ex. 2, U.S. Gov’t Accountability Office, GAO-13-266, Automated Teller
     Machines: Some Consumer Fees Have Increased 5 (April 2013) (“GAO Report”) (VISA-
     ATM1-00010762).
4
     See Ex. 2, GAO Report at 5–6; Mem. Op., Nat’l ATM Council, Inc. et al. v. Visa Inc. et al.,
     1:11-cv-01803-RJL (NAC), at 2–3, ECF No. 111.
5
     See Ex. 2, GAO Report at 4–5; see also Ex. 3, Jeffrey M. Sachs Dep. 27:1–22;
                                    ; Ex. 5, Clinton Cheng (Visa 30(b)(6)) (Feb. 6, 2019) Dep.
     62:21–63:1. Cardtronics and PAI are the two largest independent ATM operators in the
     United States.
                                                                                          See Ex.
     6,


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a particular ATM network at its terminal, the ATM operator must enter into a contract with a

financial institution that maintains a relationship with that network: the ATM operator’s

“sponsoring bank,” also called the “acquiring bank.”6 The ATM operator may also contract with

an ATM processor to become technologically capable of facilitating ATM transactions.7

        Foreign ATM transactions thus involve numerous participants, including: (i) the ATM

cardholder; (ii) the foreign ATM operator (i.e., the operator of the physical ATM terminal),

which may or may not be a bank; (iii) the acquiring bank (which for bank-operated ATMs is also

the operator); (iv) the issuing bank; and (v) the electronic ATM network that links the ATM and

the issuing bank together.8 And some foreign transactions at independent ATMs may involve

even more entities that have a role in operating the ATMs, such as owners of the premises where

the ATMs are located; money loaders (who replace the money in ATMs); and “Independent

Sales Organizations” (or “ISOs”) (who provide transaction processing and other services to

affiliated ATM operators). See infra Section I.C.1.

        In the United States, more than ten different ATM networks link over 400,000 ATMs and

thousands of banks that issue ATM/Debit cards to their customers (so-called “issuing banks”).9



6
    See Ex. 2, GAO Report at 4–5; Ex. 7, Congressional Budget Office, Competition in ATM
    Markets: Are ATMs Money Machines? 22 (July 1998) (“CBO Report”) (“Many networks
    admit only depository institutions as members; however, most networks allow nonbank ATM
    owners to become members if they are sponsored by a member depository institution.”); Ex.
    3, Sachs Dep. 24:13–25:15, 252:13–254:2; ATM Operator Pls.’ Experts James McAndrews
    and J. Douglas Zona Joint Report (“McAndrews/Zona Report”) ¶ 18. See also, e.g., Ex. 8,
    Kamlesh Jethani (Just ATMs USA, Inc. 30(b)(6)) Dep. Ex.,


7
    See, e.g., Ex. 9,
                                                                                         .
8
    See NAC Mem. Op., at 2–3 (describing the relevant actors in a foreign ATM transaction); Ex.
    3, Sachs Dep. at 23:16–25:2.
9
    See Ex. 6,                                                   ; Ex. 2, GAO Report at 9.

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Visa owns and operates the Visa/Plus network, and Mastercard owns and operates the Cirrus

network.10 Other ATM networks include STAR, NYCE, PULSE, SHAZAM, Accel, and Credit

Union 24.11 For historical reasons, Visa/Plus and Cirrus are commonly referred to as “national”

networks,12 and most other ATM networks are commonly referred to as “regional” networks13—

even though several large “regional” networks (such as STAR and NYCE) have had national

coverage since around 1990.14

           2.     ATM Transaction Routing Varies Widely

           The ATM network over which a specific transaction is routed depends, in the first

instance, on both the networks the ATM operator has chosen to accept and the networks the

issuing bank has chosen to enable on the ATM/Debit card. ATM operators—through their

acquiring banks or processors—determine which ATM networks will be accepted at their

terminals.15 Typically, a single ATM terminal can connect to multiple competing ATM

networks.16




10
     Mastercard’s ATM network is referred to as “Cirrus” regardless of which Mastercard brand
     (Mastercard, Maestro, or Cirrus) is presented at the ATM.
11
     Ex. 10, Fumiko Hayashi, Richard Sullivan, and Stuart E. Weiner, A Guide to the ATM and
     Debit Card Industry: 2006 Update, Federal Reserve Bank of Kansas City 42 (Table 3)
     (2006) (MC-ATM-01027597).
12
     See Expert Report of Tony Hayes (“Hayes Rep.”) ¶ 45. Tony Hayes is defendants’ industry
     expert,


13
     Id.
14
15
     See, e.g., Ex. 8,


16
     See Ex. 11, Stacey Pinkerd Dep. 190:19–191:23

                                   .

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         Some issuing banks choose to enable multiple ATM networks on their cards, and some

choose to enable only one ATM network.17 An issuing bank makes decisions about which ATM

networks to enable in the broader context of the bank’s relationship with a network. The choice

of which (and how many) networks to enable may be only one term in a complex, varied

contractual relationship.18

         If more than one network is both accepted at the ATM and enabled on the card, network

routing rules determine which network facilitates the transaction. In some cases, the issuing

bank directs the network over which the transaction must be routed, a practice referred to as

“issuer-directed” routing.19 Many ATM networks have had rules providing for “issuer-directed”

routing,20                              .21

         In other cases, a regional ATM network enabled on the card requires that the transaction

be routed over its network or another regional network, instead of Cirrus or Visa/Plus, a practice

referred to as “priority routing.”22 For instance, in 2007,



17
     See Ex. 12, Sachs Decl. ¶ 7; Ex. 13, Englebardt Decl. ¶¶ 7, 10; Ex. 14,



            .
18
     See, e.g., Ex. 15,


                                                  ; Ex. 16,

                                                                    .
19
     See Ex. 17, James McAndrews Dep. 207:10–208:8.
20
     See, e.g., Ex. 18,
                        ; Ex. 19,
                        .
21
     See Ex. 17, McAndrews Dep. 206:5–20.
22
     See Ex. 17, McAndrews Dep. 211:21–212:6. See, e.g., Ex. 20,
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         When more than one ATM network is enabled on the card and no issuer-directed or

priority routing rules are in force, the ATM operator decides the network over which to route the

ATM transaction.25 Some ATM operators have delegated responsibility for routing transactions

to their acquirer or processor.26

         3.      ATM Transaction Fees Vary Widely

         Foreign ATM transactions generally involve a number of fees paid by (and to) the

various participants in those transactions. These fees vary considerably by issuing bank, ATM

operator, and cardholder.27

         Switch and Acquirer Fees. Some issuing banks and acquiring banks may pay a per-

transaction fee to the ATM network to access the network.28 This fee is commonly referred to as

a “switch fee” (when paid by an issuing bank) or as an “acquirer fee” or a “network fee” (when




                                                                              ; Ex. 21,
                                                                                           Ex. 22,

          .
23
     See, e.g., Ex. 23,
24
     See Ex. 17, McAndrews Dep. 211:21–212:17.
25
     Ex. 13, Englebardt Decl. ¶ 10; see also, e.g.,                                       ; Ex. 24,
                                                                    .
26
     See, e.g.,
     (testifying that                                                            ;
                                                           (testifying that
                                            .
27
     For a graphical depiction, see Hayes Rep. Fig. 3.
28
     See Ex. 2, GAO Report at 8, 24 n.40.

                                                10
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paid by an acquiring bank).29 Some acquiring banks



                                       .30 ATM networks independently set switch and acquirer

fees, and rates may vary depending on the network over which a transaction is routed. Some

ATM networks provide discounted rates for entities that route higher transaction volumes over

their network.31 And some ATM networks negotiate terms with issuing banks or acquiring

banks to eliminate or reduce these fees.32

         Interchange and “Net Interchange.” An issuing bank also generally pays a per-

transaction fee to the acquiring bank for providing ATM access to the issuing bank’s

cardholder.33 This payment is referred to as “interchange.”34 The issuing bank pays a default

interchange rate, which is set independently by each ATM network for transactions routed over

that network, absent an agreement between the issuer and the acquirer.35 Although ATM




29
     See id.; Ex. 3, Sachs Dep. at 55:16–55:25; Ex. 11, Pinkerd Dep. 259:21–260:7; Ex. 12, Sachs
     Decl. ¶ 10; Ex. 13, Englebardt Decl. ¶ 11; Hayes Rep. ¶ 41(i).
30
     Ex. 27, Leland Englebardt (March 14, 2019) Dep. 249:21–250:18; Ex. 13, Englebardt Decl.
     ¶ 13; see also Ex. 28,



          .
31
     See, e.g., Ex. 29,                                                               .
32
     See, e.g., Ex. 30,
     (testifying that
                                                                                             .
33
     Ex. 7, CBO Report at xi, 23–24; Ex. 12, Sachs Decl. ¶ 10; Ex. 13, Englebardt Decl. ¶ 11.
34
     See Ex. 7, CBO Report at 23–24; Ex. 3, Sachs Dep. 56:1–57:2. This term should not be
     confused with the term “interchange fee” used in the context of debit and credit transactions,
     as “interchange” in those transactions flows in the opposite direction: from acquiring bank to
     issuing bank.
35
     Ex. 7, CBO Report at 23–24; Ex. 3, Sachs Dep. 56:1–59:10; Ex. 12, Sachs Decl. ¶¶ 10–11;
     Ex. 13, Englebardt Decl. ¶¶ 12–13; Hayes Rep. ¶ 41(ii).

                                                11
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networks set default rates and administer the collection of interchange, they do not retain

interchange.36

         Default interchange rates vary by network. Some ATM networks have “tiered”

interchange rates, which in some instances allow issuers with more transactions to pay lower

interchange rates.37 The interchange that acquiring banks receive from issuing banks — minus

the network fee acquiring banks pay to the ATM network — is sometimes called “net

interchange.”

         Surcharge and Foreign Fees. A cardholder may be assessed one or more fees for

initiating a foreign ATM transaction. First, a foreign ATM may charge the cardholder an

“access fee,” or surcharge, for the use of the terminal.38 Sometimes a single entity sets and

retains the surcharge at the ATM.39 Sometimes, one entity sets the surcharge and a different

entity retains all or a portion of the surcharge revenue.40 The entity, or entities, involved in

setting the surcharge for any given ATM varies based on the contractual arrangements

supporting that terminal.41 Surcharge amounts vary widely.42 For instance, surcharges are




36
     Ex. 7, CBO Report at 23–24; Ex. 3, Sachs Dep. 57:3–10.
37
     See, e.g., Ex. 29,                                                        .
38
     Ex. 2, GAO Report at 6–7; Ex. 7, CBO Report at xi, 25; Hayes Rep. ¶¶ 17-18.
39
     See, e.g.,




                                                   .
40
     See, e.g.,                                            (testifying that

                                                                ; Hayes Rep. ¶¶ 125–129.
41
     See Hayes Rep. ¶¶ 123, 125–129.
42
     See Ex. 2, GAO Report at 14.

                                                  12
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sometimes relatively higher in rural areas, or at venues where consumers have limited cash

withdrawal options, such as casinos, concert venues, or movie theaters.43

         In addition to a surcharge, a cardholder’s issuing bank sometimes charges a “foreign

ATM fee” for using an ATM outside of that bank’s fleet.44 These fees are set by a cardholder’s

issuing bank and vary by bank.45

         Some issuing banks offer programs to reduce or reimburse surcharges or foreign fees.

For instance, some issuing banks offer customers credits that reimburse some or all of the

surcharges assessed by ATM operators.46 Some issuing banks do not charge a foreign ATM fee

at all, or do not charge a foreign ATM fee to certain customers.47 The policies of issuing banks

with respect to these fees vary from bank to bank, and vary from cardholder to cardholder within

an issuing bank.48

         4.       Cardholder Reactions to ATM-Related Fees Vary Widely

         Cardholders’ reactions to fees they may be charged to access ATMs vary widely, as

shown by discovery from class representatives. Some cardholders, for instance, will not travel a

block out of their way (to their own bank’s ATM) to avoid surcharges and foreign fees.49 Others

prioritize the safety of the ATM’s physical location, and do not consider fees, when deciding




43
     See, e.g.,                                               (explaining that
                                                                                     ; Ex. 33,
     Sam Osborn Dep. 189:7–190:20 (testifying that
                           .
44
     Ex. 2, GAO Report at 7; Ex. 7, CBO Report at xi, 24–25.
45
     Ex. 2, GAO Report at 7; Ex. 7, CBO Report at xi, 24–25.
46
     See Hayes Rep. ¶¶ 79, 85, 86–91; Ex. 17, McAndrews Dep. 288:6–11.
47
     See Hayes Rep. ¶¶ 87–88; Ex. 17, McAndrews Dep. 288:19–21.
48
     See Hayes Rep. ¶¶ 86–94; Ex. 17, McAndrews Dep. 288:6–289:5; McAndrews/Zona Rep. ¶
     26.
49
     See                                                                        .

                                                13
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which ATMs to use.50 Others have ATM surcharges reimbursed by their issuing bank, and

therefore effectively do not incur ATM surcharges.51 ATM fees might not matter to some

cardholders at all. A cardholder’s reason for selecting his or her depository bank may have

nothing (or little) to do with access to cash at ATMs or that bank’s surcharge reimbursement or

foreign fee policies.52

B.         All Leading ATM Networks Have Non-Discrimination Rules and Most Adopted
           Them Before Visa or Mastercard Did

           Most ATM networks have non-discrimination rules (“NDRs”) governing surcharges.

NDRs provide that an ATM operator cannot impose a greater surcharge on cardholders whose

transactions are routed over one network than are imposed on transactions over other networks.

Visa/Plus and Cirrus were among the last networks to adopt NDRs.53




50
     See


                                                                    .
51
     For example,
                                              Compare, e.g.,
                                                                                          with

                                                                                  .
52
     See Ex. 17, McAndrews Dep. 297:17–298:4



                                           .
53
     See Ex. 38, Memorandum from Ron Reed to PLUS Board from March 1994 (VISA-ATM1-
     00002859, at 865) (“In today’s environment, some regional networks permit ATM
     surcharging (e.g. PULSE, Honor and Star). However, each of these networks allow
     surcharging only if it is permitted on an nondiscriminating basis.”); Ex. 39, Visa Business
     Review, “ATM Surcharging Variance Granted for U.S. Acquirers” (Feb. 1996) (VISA-ATM-
     00066901, 903–04) (Visa announcing new surcharging rules effective April 1, 1996); Ex. 40,

                                                                                      .

                                               14
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        In the early 1980s, ATM networks generally prohibited ATM operators from levying

surcharges on any transaction, including cash disbursements, routed over the networks.54 In the

late 1980s, both ATM operators and state governments began to pressure ATM networks to lift

their surcharge bans.55 A number of states passed laws prohibiting network rules banning ATM

surcharging.56 By 1996, 15 states had either enacted legislation nullifying ATM no-surcharge

rules or taken regulatory action.57 As a result, networks considered modifications to their

surcharging rules.58

        In the late-1980s and mid-1990s,

                                                     .59

                                              .60 In April 1995,




54
     See Ex. 7, CBO Report at 27; Ex. 12, Sachs Decl. ¶ 13; Ex. 13, Englebardt Decl. ¶ 15.
55
     See Ex. 7, CBO Report at 27–28; Ex. 41, October 16–17, 1995 Visa International Board of
     Directors Meeting Materials, Executive Summary, “Surcharging: Variance for the U.S.
     Region” (VISA-ATM1-00453434).
56
     See Ex. 7, CBO Report at ix, 28; Ex. 12, Sachs Decl. ¶ 14; Ex. 13, Englebardt Decl. ¶ 15; Ex.
     5, Cheng 30(b)(6) Dep. (Feb. 6, 2019) 155:20–156:9, 161:2–162:9.
57
     See Ex. 7, CBO Report at 28.
58
     See id.; Ex. 42, Anthony McEwen, Director and Executive Vice President, Plus System, Inc.,
     Testimony Before Senate Banking, Housing and Urban Affairs Committee (July 29, 1997)
     (VISA-ATM-00099233). See also Hayes Rep. Fig. 7.
59
                                                                                       See Ex.
     43,                                                                      Although
     transaction share data is not available for 1988,
                                             See Ex. 44
                                    The EFT Data Books were industry publications that reported
     total monthly ATM transactions for the ATM industry and individual ATM networks.
60
     See Ex. 45,




                                                                                  . See Ex. 46,

                                                15
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                                                               61
                                                                    Visa/Plus and Cirrus followed

these (and other) larger networks, by amending their rules likewise to permit surcharging on a

non-discriminatory basis.62 According to one of the Operator Plaintiffs, when these NDRs went

into effect in 1996, and continuing for approximately the next ten years, Visa/Plus’s and Cirrus’s

share of foreign ATM transactions “averaged approximately 3–5%, each.”63 Plaintiffs cannot

reasonably claim that Visa or Mastercard used market power to impose the rules at that time.

        To this day, most ATM networks include non-discrimination provisions in their rules on

surcharging.64 In addition,                  and at least one other competitor ATM network




                              ).
61




                                             See Ex. 47,
                                         .



                        See Ex. 48,
                                                           ; Ex. 49,
                                                                            .
62
     See Ex. 17, McAndrews Dep. 315:3–11 (testifying he
                                                         .
63
     See Restated Decl. of Roger Myers ¶ 8 (NAC ECF No. 91); see also Ex. 50, 1997 EFT
     Network Data Book (MC-ATM-00412138, at 140, 142) (providing figures for monthly ATM
     EFT transactions and approximate monthly volume on Visa/PLUS and Cirrus, which
     approximates Plus share in 1996 to be about 7% and Cirrus share in 1996 around 4%).
64
     See, e.g., Ex. 51,


                      ; Ex. 52,




                                                 16
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                            strengthened their rules governing surcharging since the mid-1990s.

Rather than prohibiting discrimination only against themselves, these networks have required

ATM operators to apply a uniform surcharge to all transactions—regardless of network.65

C.      ATM Networks Compete Vigorously for Transaction Volume from Both Issuers and
        Acquirers

        ATM networks operate in what NYCE’s general manager recently described as a “robust

competitive environment.”66 Since their inception and through the present, competition among


65
                                                                                  See Ex. 53,



     Ex. 54,




                                                                                  See Ex. 55,
                                                                       .

            See Ex. 56,
         ; Ex. 57,
         ; Ex. 58,



                                                    Ex. 58,

                                                                           , see Ex. 59,
                                                                             ; Ex. 60,
66
     Ex. 61, Decl. of Robert Woodbury, NYCE General Manager ¶ 20, Mackmin et al. v. NYCE
     Payments Network, LLC (July 23, 2018), 18-cv-11517 (D.N.J.), ECF No. 9-9. Two decades
     earlier,

                             ” Ex. 62,

                                                         See also Ex. 3, Sachs Dep. 133:14–
     134:18.

                                              17
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the regional and national ATM networks has been intense. According to a recent Visa strategy

presentation, the U.S.



        ”67

          At all relevant times, ATM networks have competed to gain transaction volume by:

(a)                                                                                     ,

(b)                                                               and (c)

                                           .68 This competition has taken a number of forms. For

example, ATM networks have competed on the reliability and security of their services.

Visa/Plus and Cirrus, for example, have long marketed themselves as more consistent and

reliable than the regional networks.69



67
      See Ex. 63, Visa,
68
      See Ex. 3, Sachs Dep. 61:19–22
                                                                                                ; Ex.
      11, Pinkerd Dep. 333:20–334:8

                                         ).
69
      See Ex. 27, Englebardt (March 14, 2019) Dep. 192:4–13

                                                                                                   ;
      Ex. 11, Pinkerd Dep. 330:23–331:2
                                                                                                       ;
      Ex. 3, Sachs Dep. 92:6–11




                                  ); Ex. 15,
      (testifying that
                                                                            ; Ex. 16,
                     (explaining that
                                                                                            .

                                                   18
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        All ATM networks compete on the pricing they offer to issuing and acquiring banks.70

For example, in the late 1990s, some regional networks began to charge ATM acquirers an

acquirer fee on transactions for which acquirers were collecting surcharges.71 By 2004, both



             .72 Regional networks used those revenues to provide issuing banks financial

incentives to enable their respective networks.73 Notably, and as with NDRs, fixed acquirer fees

were introduced by regional networks, not Visa or Mastercard.




70
     See Ex. 5, Cheng 30(b)(6) (Feb. 6, 2019) Dep. 66:8–68:7 (testifying that


               ; id. at 95:20–98:10 (testifying that

                                                         ; Ex. 11, Pinkerd Dep. 333:20–334:8


             ”); Ex. 3, Sachs Dep. 63:7–18 (


                              ); id. at 127:2–23.
71
     See Ex. 65,


72
     See Ex. 66,

                                         ; Ex. 67,



                                                                   . See Ex. 68, Visa/PLUS
     System, Inc. Bulletin, “ATM Fee Changes Effective November 2007,” Aug. 31, 2007
     (VISA-ATM1-00115979); Ex. 69, Brian Swain Dep. Ex.,
                                                                                        ).
73
     See Ex. 70,




                                                    19
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        As a further example, in 2009, Mastercard adopted a tiered interchange structure for

Cirrus that took effect in April 2010.74 Prior to 2010, Cirrus had long struggled to compete with

the regional networks. About



                                                                                        .75 In

light of those rules, Cirrus could not gain share simply by providing higher interchange to

acquirers. No matter how high Cirrus’s interchange rate went, acquirers could not choose to

route to Cirrus as long as a regional network was also enabled on the ATM/Debit card, unless the

issuing bank prioritized Cirrus. Faced with these market conditions, Mastercard competed for

share by creating incentives for issuing banks to direct ATM transactions to Cirrus.76 Starting in

2010, issuing banks would pay a lower fee per transaction (interchange and switch fees) when

they routed a greater volume of transactions over Cirrus. That fee schedule created a clear

financial incentive —                                 — for issuing banks to use issuer-directed

routing to send ATM transactions to Cirrus, thereby overcoming the barriers erected by the

regional ATM networks.77




74
     See Ex. 71, Daniel Goodman 30(b)(6) Dep. Ex.
75
     See Ex. 72,
         ; Ex. 73,
                                                  .
76
     See Ex. 72,
77
     See Ex. 74,
                          ; Ex. 75,




                                                20
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         Mastercard also introduced a new ATM acquirer fee.78 Mastercard intended to use the

money it collected from charging a fee to ATM acquirers to provide incentives to issuing banks

— i.e., to generate “

                                          .79 Here, Mastercard was borrowing a page from

                   ;

       .80

         Mastercard’s revamped interchange and fees had the intended effect: Cirrus ATM

transactions were more attractive to issuing banks, and so more issuing banks prioritized Cirrus

on their ATM/Debit card. Since that time, Mastercard has continued to use its acquirer fee

revenue to provide financial incentives to issuers.81

         Given the success of Mastercard’s pricing changes and the imperative to compete, Visa in

2011 adopted its own tiered interchange fee structure and increased the acquirer fees it charged

ATM acquirers. According to the head of Visa’s ATM business at the time:




78
     See Ex. 76, Goodman 30(b)(6) Dep. 146:11–147:12.
79
     See Ex. 77,
                                          ).
80
     See Ex. 70,


81
     See Ex. 78,

                                                                    ; see also Ex. 3, Sachs Dep.
     156:12–157:9 (


              ).

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            ”82 Visa also has made pricing changes to compete for additional ATM transactions

from acquirers. In 2016, Visa

                                                               .83 Through these changes, Visa

sought to
       84



                                                      .”85

D.      Surcharges Have Risen Steadily When Net Interchange Increased or Remained
        Level

        Back when surcharging was prohibited, ATM operators made their money strictly from

net interchange. After the mid-1990s, however, ATM operators increasingly imposed surcharges

on cardholders at foreign ATM terminals and have steadily increased surcharge amounts. This

new surcharge revenue did not replace net interchange: it added a new source of revenue for

ATM operators.

        Surcharge rates rose steadily over time, regardless of whether net interchange decreased.

Surcharge rates increased even during periods when average net interchange was level or

rising.86 For example, between 1998 and 2005,




82
     Ex. 3, Sachs Dep. 176:19–24, 180:5–8; Ex. 79, Sachs Dep. Ex., U.S.: Joint Proposal to
     Modify ATM Acquirer Fee and ATM Cash Disbursement Fee (Interchange) (VISA-ATM1-
     00090164, at 165).
83
     See Ex. 80, Joint U.S. Interchange and Pricing Proposal: Modify Visa/Plus ATM Cash
     Disbursement Fee and Issuer Switch Fee to Encourage ATM Preference, Sept. 21, 2015
     (VISA-ATM1-00477504).
84
     Id. at 504.
85
     Id. at 506.
86
     See Hayes Rep. ¶¶ 160, 164; see also Ex. 27, Englebardt Dep. 156:17–157:25 (explaining
     that
            .

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       .87 In other words, acquirers continued to receive essentially the same net interchange

payment they had when surcharging was banned — even though they were adding to their

revenue through ever-increasing surcharging after it became available. A large pool of revenue

was therefore gathering on the ATM operator side of the transaction. Anticipating this result,




                .88

          The same trend has occurred in recent years. After Visa added a higher interchange rate

tier in 2016, average industry-wide net interchange increased between 2017 and 2018 by

     ,89 but overall ATM surcharges also rose by                                        over the same

time period.90 In short, over the course of time, there has been no real correlation — let alone

the inverse correlation that plaintiffs assume — between net interchange and ATM surcharge

levels.

                                        LEGAL STANDARD

          Class actions are “‘an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.’” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

350-51 (2001) (quoting Califano v. Yamasaki, 442 U.S. 682, 700–01 (1970)). Plaintiffs bear the



87
     See Hayes Rep. ¶¶ 159–160. See also Ex. 5, Cheng 30(b)(6) (Feb. 6, 2019) Dep. 112:4–17
     (

                                                                                   ).
88
     See Ex. 81,



                .
89
     See Hayes Rep. ¶ 164.
90
     See Hayes Rep. ¶ 164 & Fig. 31.
                                                   23
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burden to “actually prove—not simply plead—that their proposed class satisfies each

requirement of Rule 23”: numerosity, commonality, typicality, and adequacy of representation.

Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 275 (2014) (emphasis in original).

       To certify their proposed damages classes under Rule 23(b)(3), plaintiffs must further

prove that common questions of law or fact predominate over individual questions, and that a

class action is the superior method of adjudicating the controversy. Fed. R. Civ. P. 23(b)(3).

Plaintiffs must “affirmatively demonstrate” predominance for both injury and causation. Wal-

Mart, 564 U.S. at 350. A damages class cannot be certified where it would deprive defendants

of the right to challenge whether specific class members suffered any injury. See In re Rail

Freight Fuel Surcharge Antitrust Litig. - MDL No. 1869, 725 F.3d 244, 252 (D.C. Cir. 2013)

(“In re Rail Freight I”); see also In re Asacol Antitrust Litigation, 907 F.3d 42, 51–52 (1st Cir.

2018). In antitrust cases in particular, the inability to show class-wide injury with common proof

will defeat class certification, even if there is “common” evidence of an antitrust conspiracy.

See, e.g., In re Rail Freight I, 725 F.3d at 252; Blades v. Monsanto Co., 400 F.3d 562, 572 (8th

Cir. 2005) (“proof of conspiracy is not proof of common injury”).

       As to the proposed injunctive relief classes under Rule 23(b)(2), to warrant class

certification, the Mackmin and Burke Plaintiffs must prove that defendants’ conduct “appl[ies]

generally to the class,” such that injunctive relief is appropriate for the class as a whole. Fed. R.

Civ. P. 23(b)(2). “[C]ohesiveness is a significant touchstone of a (b)(2) class.” Blackman v.

D.C., 633 F.3d 1088, 1094 (D.C. Cir. 2011) (Brown, J., concurring).

       When evaluating whether to certify any class, courts must conduct a “rigorous analysis”

to determine whether plaintiffs have met their evidentiary burden. Wal-Mart, 564 U.S. at 351;

see also Comcast, 569 U.S. at 35. Courts’ scrutiny of class certification claims “will frequently


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entail overlap with the merits of the plaintiff’s underlying claim.” Comcast, 569 U.S. at 33

(internal citation omitted); see also Wal-Mart, 564 U.S. 351 (internal citation omitted); In re Rail

Freight I, 725 F.3d at 253 (“It is now indisputably the role of the district court to scrutinize the

evidence before granting class certification, even when doing so ‘requires inquiry into the merits

of the claim.’”) (quoting Comcast, 569 U.S. at 28)).

        Moreover, the need for a “hard look” at the evidence extends to expert testimony

proffered by both sides. See In re Rail Freight I, 725 F.3d at 253; In re Rail Freight Fuel

Surcharge Antitrust Litig., MDL No. 1869, 934 F.3d 619, 621 (D.C. Cir. 2019) (“In re Rail

Freight II”). Defendants here contest the reliability of all of plaintiffs’ experts’ models and

methodologies. As a matter of efficiency, defendants are not filing separate motions to exclude

plaintiffs’ experts under Daubert v. Merrell Dow Pharm., 509 U.S. 579 (1993). But both

Daubert and the predominance requirement for class certification under Federal Rule 23 require

the Court to determine whether plaintiffs’ expert opinions are reliable. See In re Rail Freight

Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d 14, 91 (D.D.C. 2017).91 Rule 23 presents a still

higher standard for the reliability of an expert’s models and methodologies than reliability under

Daubert. See id. And the rigorous analysis under Rule 23 additionally requires the court to

resolve competing conclusions of expert testimony. See In re Hydrogen Peroxide Antitrust

Litig., 552 F.3d 305, 323 (3d Cir. 2008) (“Weighing conflicting expert testimony . . . may be

integral to the rigorous analysis Rule 23 demands.”); Ellis v. Costco Wholesale Corp., 657 F.3d

970, 982 (9th Cir. 2011) (holding court must “judg[e] the persuasiveness of the evidence

presented” not “merely admissib[ility]” under Daubert).



91
     For purposes of the pending motions, defendants do not contest that plaintiffs’ experts are
     qualified by “knowledge, skill, experience, training, or education” to offer opinions. Fed. R.
     Evid. 702.
                                                  25
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                                           ARGUMENT

       All three motions for class certification should be denied. None of the plaintiff groups

has shown an ability to establish class-wide injury with common proof. Each proposed class

includes an abundance of uninjured class members. Winnowing the uninjured out of the classes

would require individualized inquiries that would devolve into a series of mini-trials to

determine injury. That alone is sufficient to deny certification, but there is more.

       Plaintiffs’ methodology for measuring injury by evaluating only one side of a two-sided

transaction platform has been rejected by the Supreme Court in American Express and cannot

support class certification here. Consumer Plaintiffs have also failed to align their damages

model with their theory of injury, in violation of Comcast. And all three putative classes are not

ascertainable, administratively feasible, or both, which provides further grounds to deny

certification. Plaintiffs have also failed to come forward with a valid basis to certify a class for

equitable relief, to find the Burke class representatives adequate, or to allow state law claims to

be pursued in a class action.

I.     No Plaintiff Group Can Establish Injury with Common Proof

       A.      Plaintiffs Must Show that Class-Wide Injury Can Be Established with Common
               Proof

       Plaintiffs bear the burden of proving that “questions of law or fact common to class

members predominate over any questions affecting only individual members.” Fed. R. Civ. P.

23(b)(3). Predominance is a “demanding” requirement that “tests whether proposed classes are

sufficiently cohesive to warrant adjudication by representation.” Amchem Products, Inc. v.

Windsor, 521 U.S. 591, 623–24 (1997). Under D.C. Circuit precedent, courts must deny class

certification where the case would require thousands of individual adjudications about causation

and injury. These questions cannot be deferred until jury trial, or, worse, to a post-trial claims


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administration process. See In re Rail Freight II, 934 F.3d at 625–26; accord In re Asacol, 907

F.3d at 53. “To the contrary, confronting such questions is part-and-parcel of the ‘hard look’

required by” Supreme Court precedent, and these questions must be confronted on class

certification. In Rail Freight II, 934 F.3d at 626.

       The predominance inquiry tests whether any dissimilarity among class members can be

resolved in a manner that is not “inefficient or unfair.” Amgen v. Connecticut Ret. Plans & Tr.

Funds, 568 U.S. 455, 469 (2013). One can picture inefficiency as “a line of thousands of class

members waiting their turn to offer testimony and evidence on individual issues.” In re Asacol,

907 F.3d at 51–52. Unfairness can be seen “as an attempt to eliminate inefficiency by presuming

to do away with the [Seventh Amendment] rights a party would customarily have to raise

plausible individual challenges on those issues” of injury-in-fact and causation, and to do so to a

jury. Id.

       To establish liability at trial, each plaintiff will have to prove “not only an antitrust

violation, but also an injury to [their] business or property and a causal relation between the

two.” In re Rail Freight II, 934 F.3d at 623. Courts commonly refer to this element of proof as

“injury in fact” or “proof of injury,” as distinguished from “damages.” In re Rail Freight I, 725

F.3d at 252–53. At the class certification stage, “[w]ithout common proof of injury and

causation . . . plaintiffs cannot establish predominance.” Id.; see also In re Rail Freight I, 725

F.3d at 252 (“The plaintiffs must also show that they can prove, through common evidence, that

all class members were in fact injured by the alleged conspiracy.”). Two recent decisions in

antitrust class actions—including a D.C. Circuit decision issued several weeks before plaintiffs

filed their motion for class certification—illustrate when the need for individual proof of injury

will destroy predominance.


                                                  27
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        In In re Asacol, the First Circuit reversed certification of a class of branded drug

purchasers who claimed they would have purchased a generic version of the drug but for the

defendants’ alleged misconduct. 907 F.3d 42. The court determined that thousands of

unidentified class members were likely uninjured because they in fact may not have purchased a

generic version for “various reasons.” Id. at 51. The court stated: “The need to identify those

individuals will predominate and render an adjudication unmanageable absent unrebutted

affidavits . . . or some other mechanism that can manageably remove uninjured persons from the

class in a manner that protects the parties’ rights.” Id. at 53–54. Because plaintiffs could not

assure the court that “the number of affidavits to which the defendants will be able to mount a

genuine challenge is so small that it will be administratively feasible to require those challenged

affiants to testify at trial,” id. at 53, the court refused to allow the submission of affidavits to

winnow out uninjured class members, id. at 53–54. The court reasoned that the process would

not protect defendants’ Seventh Amendment and due process rights requiring a “meaningful

opportunity to contest whether an individual” was injured before a jury. Id. at 53.

        Similarly, in In re Rail Freight II, the D.C. Circuit affirmed the denial of class

certification when, under plaintiffs’ expert damages model, 2,037 class members were uninjured

(according to common proof) and thus would “need individualized adjudications of causation

and injury.” 934 F.3d at 625. The court affirmed the district court’s conclusion that those

individualized inquiries “precluded a finding of predominance.” Id. at 624. Assuming without

deciding that there was a “de minimis” exception to the requirement of common evidence of

injury for all class members, the court decided that the exception would not apply. Id. at 624.92



92
     The D.C. Circuit expressed skepticism about the existence of such an exception, noting that it
     “appears inconsistent with our statement in Rail Freight I that the plaintiffs, to establish

                                                   28
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        The D.C. Circuit cited In re Asacol with approval as “explain[ing] that any winnowing

mechanism [to identify uninjured class members] must be truncated enough to ensure that the

common issues predominate, yet robust enough to preserve the defendants’ Seventh Amendment

and due process rights to contest every element of liability and to present every colorable

defense.” Id. As in In re Asacol, the court concluded that no acceptable winnowing mechanism

existed since “the defendants intend[ed] to contest whether any of the 2,037 [class members]

suffered injury as a result of any conspiracy.” Id. at 625.

        B.        Consumer Plaintiffs Cannot Establish Class-Wide Injury with Common Proof

        Consumer Plaintiffs run into the exact problem described by Rail Freight and Asacol.

Consumer Plaintiffs claim that class-wide injury can be proven with common evidence that

ATM operators impose higher surcharges on cardholders when the net interchange they receive

falls. Consumer Plaintiffs’ experts, Professor Carlton and Dr. Lehr, each opine that



                                                              .93 But neither expert supports his

opinion with empirical evidence:

                          . Professor Carlton and Dr. Lehr have assumed away the very issue that

common evidence must prove if the classes are to be certified.


     predominance, must ‘show that they can prove, through common evidence, that all class
     members were in fact injured by the alleged conspiracy.’” In re Rail Freight II, 934 F.3d at
     624 (quoting In re Rail Freight I, 725 F.3d at 252). That issue need not be resolved in this
     case because, as in In re Rail Freight II, the number of class members for whom
     individualized inquiries into injury are required—i.e., “how many individual adjudications
     are too many”—would exceed any “de minimis” standard. See infra Sections I.B. & I.C.
93
     Mackmin Br. at 46–51; Carlton Report ¶ 108
                                                                     ; see Burke Pls.’ Expert
     William Lehr Report (“Lehr Rep.”) ¶ 85

             ).

                                                 29
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           The record shows that an individualized inquiry—not common proof—is required to

determine whether any particular ATM operator imposed higher surcharges in response to

decreases in net interchange. An individualized inquiry is also required to determine whether

any cardholder broke the chain of causation by his or her own conduct. The existence of any

injury for many cardholders will depend on the circumstances of only one or two transactions at

a single ATM. The average                        cardholder, for example,

                           .94

                                                                               .95 Plaintiffs cannot

rely on assumptions and averages to obscure the need for individualized inquiries.

                  1.     Mackmin Plaintiffs Cannot Establish Class-Wide Injury with Common
                         Proof

           The Mackmin Plaintiffs cannot show with common evidence that all bank-operated

ATMs increased surcharges because of decreases in net interchange. At most, Professor Carlton



                                                                  .96 But analyzing

                  cannot establish common proof: it sidesteps the issue of commonality entirely.

Professor Carlton

       .



94
     Expert Report of Glenn Hubbard (“Hubbard Rep.”) n.47 (




                           ).
95
     Hubbard Rep. ¶ 252.
96
     Carlton Rep. ¶ 83.

                                                  30
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         Professor Carlton’s assumption

                          . Professor Hubbard tested that assumption



                                                                  .97 Using Professor Carlton’s

own methodology, Professor Hubbard found

                                                                                         . For

example,

          .98 Indeed,

                                                                       .99 Even though



                                                                        .100



                                  .

         Professor Hubbard also




                                                                                           .101



97
      Hubbard Rep. ¶¶ 222–223.


                                                           . See Hubbard n.445.
98
      Hubbard Rep. ¶ n.452.
99
      Hubbard Rep. ¶ 224.
100
      Hubbard Rep. ¶ 224.
101
      Hubbard Rep. ¶ 131.

                                              31
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            The record shows why some bank ATM operators did not raise surcharges in response to

declines in net interchange.

                                                                        .”102

                                                                  .103 After Mastercard announced its

2010 reduction in net interchange—an event plaintiffs cite as the primary example showing the

impact of the challenged NDRs on surcharging—

                                                     left its national surcharge rate unchanged in the

decade since Mastercard’s revamped fee schedule was released in 2010.104

            This variation in bank surcharge practices results from a variation in business strategies.

Some banks have viewed ATMs primarily as a service to their own account holders,105 rather



102
      Ex. 82,                                                                                             ;
      Ex. 83,

                   ; see also


103




                                             Id. at 52:1–15.
104

               See Ex. 86,                                                                 .
                                                                                  . See id. at 49:2–10;
      Ex. 87,
105
      See


                     ;
                                                                                               ; id. at
      213:9–217:10

                                                 ;

                                                       32
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than a source of revenue, and so set their surcharges based on considerations other than net

interchange alone.106 As a

                                                                           .”107 Similarly,



                                            108
                                                  and that



                                         ”109 These banks’ business strategies as ATM operators,

and thus their surcharge fees, have been based on a variety of factors, not pure profit-

maximization at each ATM.110

          Professor Carlton did not

                         ,111 but they have far-reaching consequences for Consumer Plaintiffs. By




                                                                  .
106
      See, e.g.,



                                             .
107
                                                 ; see also
                            (explaining that
                                                                                                   .
108
      Ex. 90,                                                                                          .
109
      Ex. 91,                                                                                              .
110
      See
                                         ; Ex. 92,
                                      . In fact,
                                                                                    .
                                  ; see also id. at 169:12–18 (
                                                                             ); Hayes Rep. ¶¶
      112–113.
111
      See, e.g., Ex. 93, Dennis Carlton Dep. 112:19–113:19, 124:12–21 (testifying that

                                                                      ; see also id. 92:2–93:3 (

                                                      33
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way of illustration, Professor Hubbard estimates



        . That analysis of data from

                                          .112 There is good reason to believe that a similar

analysis

                        . Even measured conservatively, these uninjured class members far

exceed any conceivable “de minimis” threshold.

                2.      Burke Plaintiffs Cannot Establish Class-Wide Injury with Common Proof

         The record evidence similarly shows—contrary to Dr. Lehr’s central assumption—



           . Dr. Lehr simply asserted

                                                                                            .”113

The Burke Plaintiffs cannot rely on an assumption alone to carry their burden of proof, but that is




                  ).
112
      Hubbard Rep. ¶ 256. As Professor Hubbard notes,


                              Id. at ¶ 258.

                                                                                         . Id. at
      n.507.
113
      Lehr Rep. ¶ 86.

                                                34
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all they have. Dr. Lehr

          .

         Because Dr. Lehr                                  Professor Hubbard        Professor

Hubbard

                                       .114 Professor Hubbard found



                                                                            115




                                                .116

                                         , Professor Hubbard performed

                                                                   . Professor Hubbard again

found




                          .117

         Like bank ATM operators, independent ATM operators do not uniformly raise surcharges

in response to decreases in net interchange for a variety of different business reasons. For

example, some independent ATMs operate under a bank’s brand and logo, so the independent

operator cannot unilaterally raise surcharges because doing so would carry brand implications




114
      Hubbard Rep. ¶ 225.
115
      Hubbard Rep. ¶ 225.
116
      Hubbard Rep. ¶ 225.
117
      Hubbard Rep. ¶¶ 133–134.

                                                35
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and reputational risk for the branding bank.118 Some ATM operators that receive net interchange

have ceded to the premises owner the right to set the surcharge amount, or stipulated to a fixed

surcharge amount by contract.119 These premises owners have no reason to vary surcharges in

response to net interchange, because they do not receive net interchange. They instead set

surcharges at levels to satisfy their own business objectives—for example, merchants may keep




118
      See Hayes Rep. ¶¶ 122–123.
119
      See Hayes Rep. ¶¶ 125–130; Ex. 2, GAO Report at 12–13. Some named Operator Plaintiffs
      have entered into these types of arrangements with merchants. See, e.g.,




                                                                                           ; Ex.
      94,




                                                                           ; id. at 122:3–123:7




                                                                                .

                                                36
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surcharges at a low level to increase foot traffic in their stores,120 or casinos and purveyors of

adult entertainment may keep their surcharges high to capitalize on a captive audience.121

          Those and other valid business reasons explain why some independent ATM operators

did not increase surcharges in response to decreases in net interchange. Cardholders who only

used any of those operators’ ATMs (for one or more transactions) could not have been injured by

the challenged NDRs because they did not pay an inflated surcharge. But those cardholders are

still swept into the purported Burke class.

          Although plaintiffs                                         Professor Hubbard



                                                                                            it is

reasonable to expect that a substantial number of cardholders in the proposed Burke class are

uninjured.122 And, as Dr. Lehr’s testimony confirms,




120
      See, e.g.,                                                ; Ex. 100,

                                                        ; Ex. 101,

                                              ; see also Lehr Rep. ¶¶ 75, 82



                                                                     ); Ex. 102, Lehr Dep. 170:10–
      176:13
                                                               ).
121
      See, e.g.,
                                                                               ; Ex. 33, Osborn Dep.
      189:7–190:22 (
           ).
122
      See Hubbard Rep. ¶ 126.
                                                  37
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                 . These problems are baked in to plaintiffs’ theory and their experts’ models, and

cannot be dismissed under any “de minimis” threshold.

                 3.      Consumer Plaintiffs Use Averaging to Mask Uninjured Class Members in
                         their But-For World

          To show common proof of injury, Professor Carlton and Dr. Lehr deploy methodologies

that rely on averages. But averages necessarily obscure variations within data sets. For example,

if four investors lost $5 and one investor made $100, the average outcome for the five investors

is a $16 gain. But it would be wrong to say that all five investors made money. So too here.

Any consumer who withdrew cash from an ATM that never raised surcharges was not injured

regardless of whether his withdrawal is combined with four other consumers who withdrew cash

from ATMs that did raise surcharges. Averaging to create the appearance of uniform injury

does not rectify the reality of individual winners and losers in the class. See, e.g., In re Asacol,

907 F.3d at 54 (denying class certification where model that relied on representative evidence

and averages led to the “demonstrably wrong conclusion that one hundred percent of individuals

were injured”); In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 493 (N.D. Cal.

2008) (denying class certification where model that relied on averages “masked important

differences between products and purchasers”).

          Professor Carlton presents                                            . With NDRs in

place, he expects

                                                                . Without NDRs in place, he

expects

                                                                              .123 Put another way,


123
      Carlton Report ¶¶ 51–52. Similarly, Operator Plaintiffs’ expert testified that,


                                                  38
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some surcharges would be higher in the absence of the NDRs. Both Professor Carlton and Dr.

Lehr suggest that
                                                                     124
                                                                           And for their part, the Operator

Plaintiffs likewise testified that,

                                                    .125 This means that some cardholders—who are

able to transact only over Visa/Plus and Cirrus—would be worse off without the NDRs in place.

Plaintiffs’ claims about the “average” effect simply assumes common impact, but cannot prove it

in light of this evidence.

          There are good reasons to believe that many issuers would choose to maintain exclusive

(or near-exclusive) relationships with Visa/Plus or Cirrus, even if their cardholders faced higher

ATM surcharges in the absence of the NDRs, and that those issuers would pay lower interchange




                                                                                                Ex. 103, J.
      Douglas Zona Dep. 135:22–138:8.
124
      See Carlton Report ¶ 52 (explaining that,

                                            ); Lehr Report ¶ 26 (arguing that

                                                                 .
125
      See, e.g.,                                                                               (testifying he

                   ;
                           (agreeing that

                       ;                                                   (testifying that

                                ;                                                        (testifying that

                                                            . In its earlier preliminary injunction
      motion, one of the putative class representatives candidly stated that the rules ensure that
      ATM operators are “[u]nable to raise the surcharge on only Visa or MasterCard
      transactions.” Powell Decl. ¶ 8. (NAC ECF No. 60-4).

                                                    39
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rates for ATM transactions routed to Visa/Plus and Cirrus.126 Visa has



                                                .127 Mastercard similarly has offered



                                                                 128
                                                                       As Operator Plaintiffs’

expert observed,



                                                                                        129




126
      See Ex. 106,




                                      . Ex. 5, Cheng 30(b)(6) (Feb. 6, 2019) Dep. 285:1–286:2.
127
      See Ex. 5, Cheng 30(b)(6) (Feb. 6, 2019) Dep. 107:16–110:4 (
                                                                                     ); Ex. 85
                                               (testifying that
                                                         ).
128
      See, e.g., Ex. 107,
                                                   ).
129
      Ex. 17, McAndrews Dep. 310:21–312:8. Moreover, as plaintiffs’ industry experts explained,

                                                    McAndrews/Zona Rep. ¶ 40. For example,

                                                                                              See Ex.
      108,
                                                    ; Ex. 109,




                            See Ex. 110,
                                                                           ).

                                               40
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          Given these circumstances, the issuers that enable only Visa/Plus or Cirrus for ATM

transactions would pay lower interchange rates even if the challenged NDRs did not exist (i.e., in

the “but-for world”). But their cardholders would be worse off in the but-for world because,

under Consumer Plaintiffs’ theory, ATM operators would impose higher surcharges on them.

Professor Hubbard estimates that, as of 2015,

                                                  .130 Individualized inquiries into each issuing

bank, and each cardholder, would be necessary for the jury to determine which of those cards

would have remained enabled only for Visa/Plus or Cirrus if the NDRs did not exist.

          Moreover, a cardholder could be worse off in the but-for world based on its issuing bank

for an additional reason. In the rare instances where ATM operators have contemplated

differential surcharging, banks that both operate ATMs and issue cards have discussed raising

surcharges on cards associated with other specific issuers.131 As plaintiffs note, in Puerto Rico,




             .132 Thus, a factfinder would need to consider how an ATM operator would treat each



130
      See Hubbard Rep. ¶ 267.
131

                                                                . See Ex. 111,



                       Ex. 112,
                                                        . See also Hayes Rep. ¶¶ 182–186
      (
                         ).
132
      See NAC Br. at 13; Ex. 113,


                                                 41
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cardholder’s issuing bank to determine whether that cardholder would or would not have been

better off in the but-for world.

                  4.     Consumer Plaintiffs Cannot Establish with Common Proof Other Links in
                         Their Causal Chain

          Consumer Plaintiffs argue that cardholders would, over time, avoid higher surcharges by

switching to banks offering ATM networks that provided higher net interchange to ATM

operators. But there is extensive evidence to the contrary. The evidence shows that cardholders

have chosen to incur a surcharge—even when that surcharge was readily avoidable—because the

cardholder had different priorities. Those cardholders would not have been injured by

defendants’ actions. Individualized inquiry therefore is necessary to understand how any given

cardholder or group of cardholders would have behaved in a but-for world.

          For instance, class representative Ms. Heiskell testified

                                                                        ,133 and



            She also testified that



      .136 Class representative Mr. Burke similarly testified that




                             ; id. at 368:3–20

                                  .
133
      See Ex. 34, Heiskell Dep. 93:7–17.
134
      See Ex. 34, Heiskell Dep. 100:20–101:12.
135
      See Ex. 34, Heiskell Dep. 141:16–25.                                         Most ATM
      cardholders have a single checking account.                            Many checking
      accounts require minimum balances to avoid monthly fees that would far exceed $0.25
      savings even on multiple ATM withdrawals per month.
136
      See Ex. 34, Heiskell Dep. at 142:2–10.

                                                   42
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                            .137 He also testified that




                             138



         Class representative Mr. Osborn acknowledged that
                                   139
                                         And class representative Mr. Byrnes testified that

                                                                                         ,140

                                                                        ,141 and



              .142 These cardholders may prioritize other concerns, such as physical security of

location, over avoiding surcharges.143 Individual inquiries would be required of individual

putative class members to determine whether their own choices caused their alleged injuries.

         C.       Operator Plaintiffs Cannot Establish Class-Wide Injury with Common Proof

         Operator Plaintiffs likewise fail to establish common proof of injury. Operator Plaintiffs

assume but offer no source of evidence that would actually prove that each individual class

member (1) paid fees to Visa and Mastercard144 and (2) was able to differentially surcharge.


137
      See Ex. 35, Burke Dep. 91:7–92:6.
138
      Ex. 35, Burke Dep. 182:20–183:7.
139
      See Ex. 33, Osborn Dep. 66:4–67:25.
140
      See Ex. 114, Brian Byrnes Dep. 99:3–6.
141
      See id. at 115:22–116:1.
142
      See id. at 117:12–118:6.
143
      See
                                                                                                  .
144
      Because acquiring banks, not independent ATM operators, directly pay acquirer fees to Visa
      and Mastercard, the Operator Plaintiffs assert that acquiring banks deduct acquirer fees from
      the interchange income that acquiring banks pay to independent ATM operators, such that

                                                    43
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Operator Plaintiffs cannot point to common proof to establish these two elements on a class-wide

basis. Rather, individualized, fact-intensive inquiries into thousands of putative class members

would be required to ensure that uninjured operators are not swept into the class.

                 1.     Operator Plaintiffs Cannot Establish with Common Proof That Any Given
                        Operator Actually Paid Acquirer Fees

         Operator Plaintiffs’ putative class consists of “independent ATM Operators.” Operator

Plaintiffs and their witnesses have provided hopelessly vague criteria to identify “ATM

Operators” under their definition—a separate failing discussed in Section IV.A. But at the very

least, their definition includes a number of entities that do not pay acquirer fees that Operator

Plaintiffs claim as damages.145 Any operator that does not pay acquirer fees cannot be injured.

         Operator Plaintiffs’ brief notes that they rely on the term “ATM operators” as “defined by

Visa.”146 Visa’s definition is clear: an “ATM operator” includes a range of entities that present

fraud or other risks in the operation of an ATM connected to the Visa/Plus network.147 Visa’s

rules require ATM acquirers (or their agents) to have contracts with all of these entities because,




      the operators “pay” acquirer fees on a “pass through” basis. See, e.g., Ex. 103, Zona Dep.
      121:6–12

                                         . Even accepting this “pass-through” theory for purposes
      of argument, Operator Plaintiffs cannot establish fact of injury on a class-wide basis.
145
      Operator Plaintiffs’ damages expert
                                           . Zona Rep. ¶¶ 65–72; see Ex. 103, Zona Dep. 115:5–
      116:2 (

                                                                        ).
146
      NAC Br. at 1 & n.2; see also Ex. 17, McAndrews Dep. 82:4–17, 90:3–18 (explaining that

                      ); Ex. 103, Zona Dep. 142:16–18
                                               ).
147
      Declaration of Clinton Cheng dated February 11, 2020, submitted concurrently with this
      memorandum (“Cheng Decl.”) ¶¶ 3–9.

                                                 44
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in the event of fraud, Visa relies on ATM acquirers (the financial institutions) to help locate the

responsible entities.148 Specifically, an “ATM Operator” includes:

                 An entity authorized by a Member or its Agent to originate a
                 Transaction through the connection of an ATM to the Visa ATM
                 Network and that displays an Acceptance Mark. An ATM Operator
                 owns, operates, or leases ATMs that are connected to the Visa ATM
                 Network and may either or both:

                        x   Receive revenue from the Interchange process or from
                            fees assessed with Transactions

                        x   Manage cryptographic functions or stock ATMs with
                            cash149

         Multiple types of entities — including “Independent Sales Organizations” (ISOs),

affiliates of ISOs, processors, and merchants — are involved in operating and servicing a single

independent ATM and satisfy this definition of “ATM Operator.”150 These entities have roles

such as ownership, transaction processing, and cash loading.151
                                                                                                 152



But Operator Plaintiffs assume, incorrectly, that there can only be one ATM operator for a given




148
      Id.
149
      Ex. 115, Visa Core Rules and Visa Product and Service Rules, April 15, 2015 (NAC ECF No.
      60-26, at 764). The Plus operating regulations include a similar and co-extensive definition.
      See Ex. 116, Visa Plus System, Inc. Operating Regulations, Oct. 15, 2016 (VISA-ATM1-
      00130150, at 311); Cheng Decl. ¶¶ 10–12.
150
      See Cheng Decl. ¶ 14; Hayes Rep. ¶¶ 102-104 & Fig. 23; Ex. 2, GAO Rep. at 4 n.6, 11
      (identifying “several types of independent ATM operators” and discussing divisions of
      responsibilities).
151
      See Cheng Decl. ¶ 14; Hayes Rep. ¶¶ 102-104 & Fig. 23; Ex. 2, GAO Rep. at 4 n.6, 11.
152
      NAC Br. 43.

                                                 45
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terminal.153 For any single ATM terminal, more than one entity may be an “ATM operator.”154




                                               155



         Because so many types of entities fall within this definition, not all ATM operators pay

acquirer fees, directly or indirectly. Visa’s definition contemplates that an ATM operator might

not “[r]eceive revenue from the Interchange process [n]or from fees assessed with

Transaction.”156 Thus, determining whether a particular ATM operator actually paid acquirer

fees for a given ATM transaction would be a highly individualized inquiry. It depends on the

individual financial relationships among ATM operators, as well as among ATM operators and

other service providers.

         The nature of these relationships is complex and varied—
                                                                                             157
                                                                                                   He

explained that

                                                                         .158 Further complicating



153
      See, e.g., Ex. 17, McAndrews Dep. 73:11–16 (

                ); id at 91:16–17                                                     .”);


                    This confusion suggests that Operator Plaintiffs are significantly understating
      the size of the proposed class.
154
      See Cheng Decl. ¶ 14.
155
      See Ex. 117,
           .
156
      Ex. 115, 2015 Visa Core Rules (NAC ECF No. 60-26, at 764).
157
      Ex. 64,                           .
158
      Id. at 43:2–45:21, 125:7–129:12; see also Hayes Rep. ¶¶ 118, 120, 125–130. For example,


                                                     46
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matters, according to the Operator Plaintiffs,

                           .159

          To illustrate, many merchants load cash at ATMs they lease or own on their premises.160

These merchants are ATM operators under Visa’s definition and, in accordance with Visa’s

rules, must have written agreements with acquiring banks (or agents) authorizing them to

connect to the Visa/Plus ATM network.161 But many of these merchants do not receive any

interchange revenue or pay any acquirer fees:



                                               . See, e.g., Ex. 26, SJI ATMs 30(b)(6) Dep. 181:21–
      182:14 (describing how

                                                               . See, e.g., Ex. 32, TurnKey 30(b)(6) Dep.
      219:21–220:14 (testifying that
                                       ).
159
      See, e.g., Ex. 26, SJI ATMs 30(b)(6) Dep. 206:7–21 (estimating

                                           ); Ex. 32, TurnKey 30(b)(6) Dep. 155:5–11 (describing
                                                                                             );
      see also Ex. 105, Selman 30(b)(6) Dep. 362:17–364:21 (



                                                          ).
160
      See, e.g.,                                                       (describing
                                                                        );
                                  (testifying that
                                                                                                  );
                                                                    (describing
                                                               );
         (testifying that                                                                        ).
161
      See, e.g., Ex. 118, SJI ATMs Dep. Ex.,

                                                                                       ; Ex. 26, SJI ATMs
      30(b)(6) Dep. 206:22–209:22 (agreeing
                       ); Ex. 119, Just ATMs Dep. Ex. 120,

                                            ; Ex. 120,
                                                                                               ; Ex. 121,

                                                     47
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              x        Proposed class representative                             corporate representative
                       testified that,
                                                                                              .162 In this
                       scenario,
                                                                             .”163 As a result,

                                                                                                  .164

              x        Proposed class representative                                 corporate representative
                       confirmed that,
                                                                                             165


              x        Proposed class representative                  also has
                                                                166
                                                            .
                                                                                                             .167

          As another illustration, a single ATM can be operated by two different “ISO affiliates,”

which are entities that operate multiple ATMs but do not have a direct relationship with a

sponsoring bank.168 While both ISO affiliates would be ATM operators under Visa’s definition,

it may be that only one of them receives interchange revenue and pays the acquirer fees on

transactions at the ATM.169 For example,



                                                .
162
                                    .
163
      Id.
164
      Id. at 189:9–14.
165
                               see also id. at 143:4–10.
166
      See, e.g.,                                                  ,

                                        ;

                                                    (same).
167
                                         .
168
      See Ex. 17, McAndrews Dep. 88:1–89:8 (explaining that


                   .
169
      See, e.g.,




                                                       48
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                                                                                         .170 For

unknown reasons,
                                                                             171
                                                                                   However, only



                     172



            Only individualized evidence can clarify which ATM operators paid acquirer fees on a

specific ATM’s transactions, and is therefore potentially an injured party according to Operator

Plaintiffs. Indeed,




                                                 173
                                                       Since damages flow from paying the acquirer fee,

that inquiry would be critical to determine fact of injury.



                                         ;                                               (testifying

                                     ;
      (testifying that
                                                  ).
170
      See                                                                (testifying
                                    ); id. at 216:15–218:21;                                        ,

                             .
171
      See                                    ,


                 .
172
      See                                            .
173
      Ex. 17, McAndrews Dep. 113:3–117:6 (describing

                               ); see also Ex. 127, Bruce Renard (National ATM Council
      (30(b)(6)) Dep. 164:3–15 (

                                                       49
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         Operator Plaintiffs cannot overcome these issues by narrowing their class definition to

include only non-bank entities that paid acquirer fees. The entities that directly or indirectly pay

acquirer fees for transactions at independent ATMs are not always the same entities that set the

surcharges at those ATMs,174 and Operator Plaintiffs’ injury methodology hinges on the

assumption that individual class members had the ability to differentially surcharge absent the

challenged rules.175 Defining the class to include only non-bank entities that paid acquirer fees

— and thus exclude some entities that set surcharges at independent ATMs — would replace one

insurmountable defect with another.

         In the face of so many uninjured class members, Operator Plaintiffs may resort to the

suggestion that someone must have paid each acquirer fee for an independent ATM transaction,

and thus it should not matter to defendants whether the actually injured class members are

identified, as long as total aggregate damages are limited to the total amount of acquirer fees

paid. But as the Asacol court explained when rejecting this “no harm, no foul” position, it would

“fly in the face of the core principle that class actions are the aggregation of individual claims,

and do not create a class entity or re-apportion substantive claims.” 907 F.3d at 55–56. For the

same reason, Operators Plaintiffs should not be allowed to gloss over complex business




                                                      ).
174
      See supra note 119 and accompanying text, describing

                  .
175
      Zona Rep. ¶ 40.

                                                 50
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relationships among ATM operators—and, as a result, sweep in scores of uninjured class

members.

                2.     Operator Plaintiffs Cannot Establish with Common Proof that Any Given
                       Operator Could Have Differentially Surcharged

         Operator Plaintiffs’ injury methodology assumes without any basis that



               , and that eliminating the challenged rules would allow those operators to set

surcharges differentially.176 The facts disprove plaintiffs’ assumption and show that individual

proof would be required. At least four categories of independent ATM operators would have

been foreclosed from adopting differential surcharging without the challenged rules: (1) some

ATM operators accepted one or more of the regional networks (                               ) that

required operators to surcharge uniformly irrespective of network during the relevant period;

(2) some ATM operators gave premises owners the authority to set ATM surcharges, in order to

secure desirable ATM locations; (3) some ATM operators would be unwilling to undertake the

technological upgrades to make differential surcharging a realistic possibility; and (4) some

ATM operators receive financial incentives from ATM networks for delivering transaction

volume. These operators were not injured by the NDRs, but are still swept into plaintiffs’ class.

         Uniform Surcharge Rules. Regional networks like                                have

required ATM operators to apply a uniform surcharge to all transactions—regardless of

network.177 Thus, whether an ATM operator could have differentially surcharged in the but-for

world depends, in part, on whether that operator accepted one of those networks. If the operator

did, then it would not be able to differentially surcharge—and the game ends there.


176
      Ex. 103, Zona Dep. 146:1–4.
177
      See supra note 65.

                                                51
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         Based on Professor Hubbard’s analysis,

                                                                                  .178 But Operator

Plaintiffs and their experts did not even mention the uniform surcharge rules, much less attempt

to explain how operators subject to them could have differentially surcharged. At his deposition,

Dr. Zona testified that

                                            ”179 Dr. McAndrews was



                                                                        .180 Unlike plaintiffs’

experts, a jury would have to consider whether any given operator was able to differentially

surcharge based on other networks’ uniform surcharging rules. That would require

individualized inquiry.




                                              181
                                                       But the facts support the opposite view:




178
      Professor Hubbard found
                                                                    . Hubbard Rep. ¶ 145.
179
      Ex. 103, Zona Dep. 170:6–20.
180
      Ex. 17, McAndrews Dep. 195:11–21 (



                                                ).
181
      See Ex. 103, Zona Dep. 175:11–22; Ex. 17, McAndrews Dep. 199:3–8; Carlton Rep. ¶ 39




                                                  52
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                             . See supra Background Section B. And regardless, plaintiffs’

experts                                                                             .182 They have

no reason to believe those networks would have dropped their rules if Visa and Mastercard never

had adopted their NDRs. There is also no reason to believe that ATM operators would have

uniformly chosen not to accept ATM networks with NDRs or uniform surcharging requirements.

To the contrary, ATM Operator Plaintiffs have testified



                                                  183



          Ceding Surcharging Authority. Similarly, operators that contractually ceded to premises

owners the authority to impose surcharges could not differentially surcharge, even if the NDRs

did not exist. Those operators would thus be uninjured.




182
      See Ex. 103, Zona Dep. 171:20–172:4; Ex. 17, McAndrews Dep. 199:10–22, 202:1–7,
      318:12–17.
183
      See, e.g., Ex. 128, Objs. and Resps. of ATMs of the South, Inc. to Mastercard Def.’s First Set
      of Interrogs. at Resp. to Interrog. No. 11, at 6; Ex. 104, ATMs of the South 30(b)(6) Dep.
      125:10–126:24 (testifying

                            ; Ex. 129, Objs. and Resps. of SJI ATMs to Mastercard Def.’s First Set
      of Interrogs. at Resps. to Interrog. No. 11, at 6; Ex. 26, SJI ATMs Dep. 30(b)(6) 164:3–164:4
      (                                                                             ); Ex. 130, Objs.
      and Resps. of Just ATMs, Inc. to Mastercard Def.’s First Set of Interrogs. at Resps. to
      Interrog. No. 11, at 6; Ex. 99, Just ATMs 30(b)(6) Dep. 216:24–217:12 (

              ); Ex. 32, TurnKey 30(b)(6) Dep. 163:5–12 (



                               ).

                                                  53
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         The record evidence suggests that



                                                                                    . ATM operators

routinely compete against each other for contracts with premises owners and give premises

owners discretion to set surcharge levels in that context.184 One independent ATM operator

testified that

                                                                     .185



                                                                            186
                                                                                  Another independent

ATM operator

                                                                            .”187

         Dr. McAndrews testified that




                        188
                              This is unsupported speculation. The undisputed factual record shows



184
      See supra note 119.
185
186
      Id. at 47:23–48:8.
187
                                                         . This Operator Plaintiff’s

                     See, e.g.,




            . But see                                                         (stating
                                                                            ).
188
      Ex. 17, McAndrews Dep. 177:3–181:1, 189:19–190:13.

                                                    54
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that

                                                                      .189




         Technological Capability. Operators’ ATMs require certain technological capabilities to

enable differential surcharging. All ATMs likely would require a software upgrade, and many

would require a hardware upgrade as well. Depending on the scope of an ATM operator’s

existing fleet of terminals, these upgrades can vary in both expense to the operator and the extent

to which they would disrupt the operator’s business.190 A factfinder would have to determine

whether any given operator would have been likely to incur the expense and inconvenience of

upgrading its fleet’s technological capabilities, in the absence of the rules. Operators’

willingness to undertake upgrades is likely to vary widely:



                                                      .191 Operator Plaintiffs fail to account for

these individual issues relating to injury.



189
      As Consumer Plaintiffs’ expert Dr. Lehr correctly notes,



                                                     Lehr Report ¶¶ 75, 82.
190
      See, e.g., Ex. 32, TurnKey 30(b)(6) Dep., 336:20–338:14 (testifying

                                                                              ); Ex. 131,

                                                                        ; id. at 906–07 (showing

                                          ).
191
      See Ex. 96, ATM Bankcard Services 30(b)(6) Dep. 56:19–57:9


                                                 55
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          Contracts with Networks. Operator Plaintiffs also




                      192
                             Operator Plaintiffs




                                              .193 Again, Operator Plaintiffs fail to account for these

individual issues relating to injury.

II.       Plaintiffs’ Models Are Invalid Because They Do Not Show Class-Wide Antitrust
          Injury in a Two-Sided Market

          The ATM networks at issue here are two-sided transaction platforms. Under the

Supreme Court’s decision in Amex, the relevant market in Sherman Act cases involving two-

sided transaction platforms must include both sides of the platform. 138 S. Ct. at 2286–87. Any




                                        ; Ex. 104, ATMs of the South 30(b)(6) Dep. 81:20–82:5;
      Ex. 26, SJI ATMs 30(b)(6) Dep., 138:16–139:14 (testifying
                                                             ); Ex. 105, Selman 30(b)(6) Dep.
      122:18–124:20 (testifying
                                                    ); Ex. 122, Wash Water 30(b)(6) Dep. 159:7–
      161:6; 165:21–167:6 (testifying

                       ); Ex. 25, Trinity 30(b)(6) Dep. 72:23–73:3; see also id. at 79:6–23
      (testifying
                                                   ).
192
      See, e.g., Ex. 132,
                            ; Ex. 133,
                                                         .
193
      For example, Dr. Zona admitted that he had

                . See Ex. 103, Zona Dep. 249:6–252:6.

                                                        56
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assessment of alleged anticompetitive effects likewise must be conducted in that two-sided

market. Accordingly, plaintiffs must account for costs and benefits on both sides of the platform

and not focus solely on costs (whether to the cardholder or the ATM operator) on the acquiring

side. See id.

         All of plaintiffs’ economic models fail this requirement. It is not enough to show that

each class member paid more on the ATM acquiring side as a result of the challenged rules

(which plaintiffs cannot do in any event). The models must show that the amount class members

paid was the result of an anti-competitive effect of the rules across both sides of the platform, as

required to show antitrust injury.194

         A.      Amex Requires that Competitive Effects Be Assessed on Both Sides of a Two-
                 Sided Transaction Platform

         Amex involved a Sherman Act challenge to American Express’s “anti-steering

provisions,” which prohibited merchants from using surcharges or other mechanisms to dissuade

customers from using their American Express cards. 138 S. Ct. at 2283. Before assessing

whether these rules had anti-competitive effects, the Court explained that a credit card network is

a “two-sided platform,” meaning it “offers different products or services to two different groups

who both depend on the platform to intermediate between them.” Id. at 2280. Moreover, “the

value of the two-sided platform to one group of participants depends on how many members of a

different group participate,” a phenomenon referred to as “indirect network effects.” Id. at

2280–81.




194
      Antitrust plaintiffs “must prove more than injury causally linked to an illegal presence in the
      market.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). Rather,
      they “must prove antitrust injury,” which requires that the alleged injury must be both
      “injury of the type antitrust laws were intended to prevent and [injury] that flows from that
      which makes defendants’ acts unlawful.” Id. (second emphasis added).
                                                  57
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       The Court determined that “two-sided platforms . . . must take these indirect network

effects into account before making a change in price on either side,” which can require the

platforms to “charge one side much more than the other.” Id. at 2281. “In a competitive market,

indirect network effects also encourage companies to take increased profits from a price increase

on side A and spend them on side B to ensure more robust participation on that side and to stem

the impact of indirect network effects. . . . Indirect network effects thus limit the platform’s

ability to raise overall prices and impose a check on its market power.” Id. at 2281 n.1. Given

these features, the Court explained, “[p]rice increases on one side of the platform . . . do not

suggest anticompetitive effects without some evidence that they have increased the overall cost

of the platform’s services,” after accounting for decreases in costs on the other side of the

platform. Id. at 2286.

       The Court held that credit card networks fell into a subset of two-sided platforms—

namely, “two-sided transaction platforms”—that inherently “exhibit more pronounced indirect

network effects” because they “cannot make a sale unless both sides of the platform

simultaneously agree to use their services.” Id. at 2286. For two-sided transaction platforms,

“courts must include both sides of the platform” when defining the market and “assess[ing]

competition.” Id. at 2286–87. Thus, “as a matter of law,” transaction platforms “must always

receive two-sided treatment.” US Airways, Inc. v. Sabre Holdings Corp., 938 F.3d 43, 57 (2d

Cir. 2019) (“Sabre”) (emphasis in original) (applying Amex).

       With this framework established, the Supreme Court proceeded to “analyze the two-sided

market for credit-card transactions as a whole,” and determined that plaintiffs had failed to show

that the anti-steering provisions had anticompetitive effects in that two-sided market. Amex, 138

S. Ct. at 2287–90. The Court noted that, while the fees charged on the merchant side of the


                                                 58
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platform had increased, that fact alone did not demonstrate “an ability to charge above a

competitive price.” Id. at 2288. Indeed, the available evidence suggested these price increases

were caused by “increased competition for cardholders and a corresponding marketwide

adjustment in the relative price charged to merchants.” Id. And the plaintiffs in Amex failed to

offer evidence on the effect of costs and prices on the other side of the platform. Id. at 2287–88.

         B.      ATM Networks Are Two-Sided Transaction Platforms

         ATM networks, just like credit card networks, are two-sided transaction platforms

requiring a two-sided market analysis under Amex. Operator Plaintiffs’ experts Drs. Zona and

McAndrews acknowledged                                                                  .”195

Mackmin Plaintiffs’ expert Professor Carlton agreed that



                                                                                    .196 Burke

Plaintiffs’ expert Dr. Lehr likewise asserts that



                                                                        .197

         The relevant facts demonstrating that ATM networks are two-sided transaction platforms

are not in dispute. First, ATM networks offer




195
      Ex. 17, McAndrews Dep. 237:6–8 (
                                                         ); McAndrews/Zona Joint Rep. ¶ 20 (

                                                              ).
196
      See Ex. 93, Carlton Dep. 297:6–306:14.
197
      Lehr Rep. ¶ 22; see also id. ¶ 56 (stating that

                                                         ).

                                                    59
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               198
                     : issuers/cardholders on one side, and acquirers/operators on the other.199 Second,

ATM networks exhibit



                                                                              ”200 Finally, ATM

networks fall within the subset of two-sided platforms known as “transaction” platforms because

the “sale” occurs to issuers/cardholders and acquirers/operators simultaneously. See Amex, 138

S. Ct. at 2280; Sabre, 938 F.3d at 57. Plaintiffs’ expert McAndrews confirmed:



               ”201

          C.          Plaintiffs’ Experts Failed to Conduct the Requisite Two-Sided Market Analysis



                                                       To conduct a two-sided market analysis of the

impact of the rules, one would have to combine costs (and benefits) on the acquirer/operator side

with costs (and benefits) on the issuer/cardholder side, and determine whether the “total” or


198
      McAndrews/Zona Joint Rep. ¶ 31 (

                   ).
199
      See id. ¶ 30 (

                      ).
200
      Ex. 103, Zona Dep. 210:5–211:22; see also Ex. 17, McAndrews Dep. 222:5–17 (agreeing
      that

                 ).
201
      Ex. 17, McAndrews Dep. 226:10–14 (

                                               ); see also McAndrews/Zona Joint Rep. ¶ 31 (

                                                                ) (emphasis added); Ex. 93, Carlton
      Dep. 302:14–306:14 (agreeing that
                                                                         ).

                                                      60
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“net” price was supra-competitive. See Amex, 138 S. Ct. at 2286–87; Sabre, 938 F.3d at 58–59

(explaining that “[i]n a two-sided platform, the payment made to [consumers on one side] would

. . . necessarily reduce any damages” to a consumer on the other side). None of plaintiffs’

experts attempted to do this.

         Plaintiffs’ experts



                                                                            .202 The models




                                                                                     . Nor do plaintiffs’

models



                                                                                                    .

Plaintiffs’ experts

                                                .203 And they ignore the opinion of Operator Plaintiffs’




202
      See, e.g., Zona Rep. ¶ 63 (stating that

                         ); Carlton Rep. ¶ 41 (summarizing

                                   ); Lehr Rep. ¶ 24 (concluding that


                                                                      ).
203
      During his deposition Dr. Zona suggested that

                                           Ex. 103, Zona Dep. 213:11–216:10, 258:1–
      262:12. However, he made clear
                                                                                                 Id. at

                                                      61
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own industry expert that,



                                                  .204 Plaintiffs’ models thus fail to show that, on

a class-wide basis, the two-sided cost of ATM transactions would be lower for all cardholders

absent the challenged rules.

         Plaintiffs’ experts suggest



                                                .205 But plaintiffs’ economic theories on these

subjects are irrelevant. The Supreme Court has held that—in the context of a transaction

platform—a two-sided market analysis is required as a matter of law. As the Second Circuit

recently explained: “[T]he relevant market for [transaction platforms] must, as a matter of law,

always include both sides.” Sabre, 938 F.3d at 58. Thus, an opinion from an economic expert

that a transaction platform is not two-sided because it “lack[s] interdependence” so that

“changing prices on one side of [the] platform will not affect demand in the market as a whole,”




      260:3–15. He also agreed that
                 Id. at 33:9–20.
204
      See Ex. 17, McAndrews Dep. at 267:5–18.
205
      See Zona Rep. ¶ 58 (stating that


                 ); McAndrews Rep. ¶ 58 (arguing that
                                                                                     ); Carlton
      Rep. ¶ 111 n.150 (explaining that,



                                       ).

                                                62
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is “wrong as a matter of law in light of Amex.” Id. (emphasis added). That rejected argument is

precisely what plaintiffs’ experts advance here.

         Nor can plaintiffs take refuge in their argument that this issue “has been resolved in

[their] favor” based on findings in Osborn v. Visa, 797 F.3d 1057, 1060 (D.C. Cir. 2015) on

antitrust standing.206 The Osborn decision predates Amex by three years. Osborn therefore did

not, and could not have, approved of plaintiffs’ failure to conduct the two-sided market analysis

that Amex later required.

         In addition to being wrong as a matter of law, plaintiffs’ experts are also wrong on the

facts. There is overwhelming evidence that networks recognize and account for both issuer-side

and acquirer-side effects when they make decisions regarding interchange rates and acquirer

fees. For instance,




                                                                                              207



When Visa added a higher interchange rate tier in 2016, it sought to




206
      Mackmin Br. at 28; see also Burke Br. at 1.
207
      Ex. 134, Englebardt Dep. Ex.,




                                       ; see also Ex. 77,
                                                                                 ).

                                                    63
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                                                  ”208

          ATM networks have used increases in acquirer-side fees to fund increases in issuing-side

incentives.209 Likewise,

                                                                                    ,210 and

sometimes                                                                          .211 Even if

plaintiffs’ experts’ unsupported assertions were considered by the Court (which they should not




208
      See Ex. 80,

                                .
209
      See, e.g., Ex. 70,
                                    ; Ex. 77,
210
      See, e.g., Ex. 107,



            ; Ex. 110,


                                                                      Ex. 135,

                                                            Ex. 136,




211
      For example, for transactions acquired at

                                                                                          . See
      Ex. 15,                                                     ; Ex. 137,

                                                ; see also Ex. 138,




                                                    64
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be), the overwhelming weight of evidence is against their claims.212 The Court should resolve

this dispute at class certification. See In re Hydrogen Peroxide, 552 F.3d at 323 (“Weighing

conflicting expert testimony . . . may be integral to the rigorous analysis Rule 23 demands.”);

Ellis, 657 F.3d at 982 (holding court must “judg[e] the persuasiveness of the evidence presented”

not “merely admissib[ility]” under Daubert).

                                            *       *      *

          In short, the models presented by the plaintiffs are unreliable as a matter of law because

they fail to follow Supreme Court precedent on two-sided transaction platforms. This is a class

certification issue, not just a merits issue. See In re Rail Freight I, 725 F.3d at 255 (Rule 23 “not

only authorizes a hard look at the soundness of statistical models that purport to show

predominance—the rule commands it”). Plaintiffs acknowledge the two-sided nature of ATM

transactions but fail to construct a proper model to address it. Accordingly, they are not entitled

to class certification. See id. at 253.

III.      Consumer Plaintiffs’ Models Do Not Reliably Measure Injury or Damages to
          Individual Cardholders

          Consumer Plaintiffs’ models are unreliable for another, independent reason. Neither

corresponds with Consumer Plaintiffs’ theory of injury, neither is based on an empirical analysis

of whether reduction in net interchange was passed on in higher surcharges, and neither can

determine whether the cardholder in question was reimbursed for a surcharge imposed at the

ATM. Plaintiffs’ models cannot withstand the “hard look” that class certification requires. See


212
       Operator Plaintiffs improperly rely on a soundbite from a Visa deposition, to assert that

                    . See Zona Rep. ¶ 58 (
                                  ). Nowhere did the witnesses say that
                                           . Moreover, there is overwhelming evidence (including
       at the cited deposition) demonstrating that
                                                                                          .
                                                   65
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In re Rail Freight I, 725 F.3d at 254. As the D.C. Circuit has succinctly stated: “[n]o damages

model, no predominance, no class certification.” Id. at 253.

         Failure to Measure Damages to Cardholders. To support class certification, a plaintiff

must come forward with a model that “measures only those damages attributable” to plaintiffs’

theory of injury. Comcast, 569 U.S. at 35–36. Consumer Plaintiffs have failed to do that here.

While Consumer Plaintiffs allege injury based on supra-competitive surcharges, neither of their

models actually measures the alleged overcharges paid by putative class members.

         Consumer Plaintiffs’ models do not measure their alleged damages. Instead, both Dr.

Lehr and Professor Carlton calculate

           .213 Professor Carlton’s model



                                                   .214 Dr. Lehr’s model likewise




          215




         Instead of measuring injury as the difference between the surcharge each class member

paid and the surcharge that would have prevailed absent the NDRs, Consumer Plaintiffs evaluate

only the fees that ATM operators paid and the net interchange they received. Consumer


213
      See Lehr Rep. § 7.6; Ex. 102, Lehr Dep. 230:17–233:9 (testifying that

                            ); Carlton Rep. ¶¶ 109–11.
214
      See Carlton Rep. ¶¶ 109–11.
215
      See Lehr Rep. ¶¶ 39–48, § 7.6; see also Ex. 102, Lehr Dep. 230:17–233:9.
                                                 66
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Plaintiffs cannot support their motion for class certification with models measuring the alleged

damages of the Operator Plaintiffs. They must come forward with models measuring their own

damages in accordance with their own theories, which depend exclusively on inflated surcharges.

But neither expert analyzes the surcharges that Consumer Plaintiffs actually paid themselves.

Their models are therefore invalid under Comcast.

         Failure to Calculate Pass-Through. Consumer Plaintiffs try to bridge the gap between

their theory of injury and the damages model they offer by arguing that the damages the

operators incurred are their own. Even if that were true, Consumer Plaintiffs would have to offer

a pass-through analysis to show it. But neither Professor Carlton nor Dr. Lehr

                                  .

           Typically, in cases where overcharges are alleged to be assessed to one party and passed

on to a second, an economic analysis is necessary to determine the extent to which they in fact

were passed on—and, as a result, the extent to which the second party was injured.216 Neither

Professor Carlton nor Dr. Lehr determined (i)

                                                                                     or (ii)




216
      See Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
      Principles and Their Application ¶ 395b1 (4th ed. 2013-2018) (noting that “cost increases are
      not usually passed on in their entirety”); see also In re Rail Freight Fuel Surcharge Antitrust
      Litig., 292 F. Supp. 3d at 111; In re Processed Egg Prods. Antitrust Litig., 312 F.R.D. 124,
      134 (E.D. Pa. 2015).

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         Instead, Professor Carlton and Dr. Lehr simply




                                   .217 As that white paper explains, “Plaintiffs’ experts often rely

on this finding [of ‘perfect competition’] to justify an assumption of common pass-through at all

layers of the market and on all products at issue. Economists, however, have long recognized

that world markets rarely follow the simple paradigm of ‘perfect competition’ and that firms do

not always increase their prices dollar for dollar with each increase in costs. Thus the extent of

pass-through, if any, is generally an empirical question.”218 Although Dr. Lehr admitted that



                                                                  .219 As in a previous class action

antitrust case where the court found that Dr. Lehr’s opinion was unsupported by evidence, Dr.

Lehr offers only “bottom-line conclusions” here. In re Text Messaging Antitrust Litig., 46 F.

Supp. 3d 788, 809–810, 812 (N.D. Ill. 2014).

         Professor Carlton does undertake some minimal empirical steps:

                                                                                                 .

Professor Carlton concludes that a




217
      See Ex. 139, Lehr Dep. Ex., Kostis Hatzitaskos, et al., Antitrust Impact in Indirect Purchaser
      Class Actions: The Need for Rigorous Analysis of Pass-Through 3–4 (April 2015).
218
      Id. (emphasis in original).
219
      Ex. 102, Lehr Dep. 183:12–185:17.

                                                  68
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                                          .220 Professor Carlton further acknowledged that



                                          221
                                                But Professor Carlton simply



             .222 As discussed above,                                                  . See supra

Section I.B.1.

         In the end, neither Professor Carlton’s nor Dr. Lehr’s “model” can withstand the “hard

look” that class certification requires. See In re Rail Freight I, 725 F.3d at 254 (“It is not enough

to submit a questionable model whose unsubstantiated claims cannot be refuted through a

priori analysis.”); In re Graphics Processing Units, 253 F.R.D. at 506 (finding plaintiffs’ class

certification expert’s analysis unreliable in part because plaintiffs had not obtained the data

necessary for their expert’s regression analysis, and asserting that “plaintiffs should be able to

provide more than promises at this late stage of the litigation”). Plaintiffs cannot rely on

unfounded assumptions to carry their burden of proof.

         Failure to Exclude Reimbursements. Even if Consumer Plaintiffs were able to

overcome these fatal flaws, they would run into another. Although putative class members who

were reimbursed by their issuing banks are uninjured, plaintiffs have not built models that can

exclude these transactions. Dr. Lehr

                                                                           .223




220
      See, e.g., Carlton Rep. ¶ 83; Hubbard Rep. ¶ 222 n.446.
221
      See Ex. 93, Carlton Dep. 40:2–12.
222
      See id. at 124:14–126:17.
223
      See Ex. 102, Lehr Dep. 233:10–21.

                                                  69
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                                                                .224 And Dr. Lehr

                                                                           .225



                                  .

         Professor Carlton similarly acknowledges that




              ”226 Professor Carlton

                                                                  .227 At most, Professor Carlton

observes that
                   228
                         But, like Dr. Lehr, he

                                                                                           .

Accordingly, the Consumer Plaintiffs’ models cannot be used to detect injury or measure

damages to any particular cardholder. They fall well short of the applicable standard.

IV.      The Proposed Classes Are Not Ascertainable or Administratively Feasible

         Courts in this Circuit have recognized an implied requirement of ascertainability, as the

Operator Plaintiffs and Mackmin Plaintiffs acknowledge.229 See Brewer v. Lynch, No. 08-1747,

2015 WL 13604257, at *5 (D.D.C. Sept. 30, 2015) (“Courts in this Circuit have ‘grafted’ onto



224
      See, e.g., id. at 233:22–239:25.
225
      See id. (admitting
                                                                 ). See Hubbard Rep. ¶¶ 49, 319;
      id. at Ex. 1 & 2.
226
      Carlton Rep. ¶ 102.
227
      See Ex. 93, Carlton Dep. 264:14–271:3.
228
      Id.
229
      See NAC Br. at 40; Mackmin Br. at 23.

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Rule 23 an ‘implied’ requirement that a court should first determine whether a proposed class is

adequately defined such that its members are clearly ascertainable.”).230 This requirement is

essential to “protect absent plaintiffs by enabling notice and to protect defendants ‘by enabling

a final judgment that clearly identifies who is bound by it.’” DL v. D.C., 302 F.R.D. 1, 16

(D.D.C. 2013) (quoting 1 William B. Rubenstein, Newberg on Class Actions § 3:7 (5th ed.)).

Courts in this District apply two principles to determine whether a proposed class is “sufficiently

definite”: A class “must be ascertainable by reference to or based on objective criteria,” and

“analysis of the objective criteria must be administratively feasible.” Brewer, 2015 WL

13604257, at *6 (citing cases). All three classes fall short of these standards.

         A.      The Operator Class Is Not Defined by Objective Criteria

         Operator Plaintiffs do not satisfy the basic requirement that the class be defined “by

reference to or based on objective criteria.” Brewer, 2015 WL 13604257, at *6; see also In re

Rail Freight Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d at 92 (putative class must be

“sufficiently defined so as to be identifiable as a class”). Under this principle, “a class may be

certified only when ‘an individual would be able to determine, simply by reading the [class]



230
      Although the D.C. Circuit has not addressed the question, a number of courts in this District
      have followed the holdings of other circuit courts in applying an implied ascertainability
      requirement under Rule 23. See e.g., Campbell v. Nat’l R.R. Passenger Corp., 311 F. Supp.
      3d 281, 313 (D.D.C. 2018); Brewer v. Lynch, No. CV 08-1747-BJR, 2015 WL 13604257
      (D.D.C. Sept. 30, 2015) (citing several further cases). But see, e.g., Little v. Washington
      Metro. Area Transit Auth., 249 F. Supp. 3d 394, 418 (D.D.C. 2017) (certifying class without
      referencing or analyzing an implied requirement of ascertainability). Some courts have
      applied a “heightened” ascertainability standard, such as the one adopted by the Third
      Circuit, which requires the plaintiff to demonstrate that the purported method for ascertaining
      class members is not only “administratively feasible,” but also “reliable . . . and permits a
      defendant to challenge the evidence used to prove class membership.” Carrera v. Bayer
      Corp., 727 F.3d 300, 308 (3d Cir. 2013). Defendants do not rely on that heightened standard
      here. See In re McCormick & Co., Inc., Pepper Prod. Mktg. & Sales Practices Litig., No.
      MC 15-1825 (ESH), 2019 WL 3021245, at *29 (D.D.C. July 10, 2019) (confirming the
      implied ascertainability standard but declining to adopt the Third Circuit’s approach).
                                                  71
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definition, whether he or she [is] a member of the proposed class.’” Campbell v. Nat’l Railroad

Passenger Corp., 311 F. Supp. 3d 281 (D.D.C. 2018) (quoting Artis v. Yellen, 307 F.R.D. 13, 23

(D.D.C. 2014)); Bynum v. District of Columbia, 214 F.R.D. 27, 32 (D.D.C. 2013); see also, e.g.,

In re McCormick & Co., Inc., Pepper Prod. Mktg. & Sales Practices Litig., 2019 WL 3021245,

at *29. A court “should deny class certification ‘where the class definitions are overly broad,

amorphous, and vague.’” Brewer, 2015 WL 13604257, at *5 (quoting Perez v. Metabolife Int’l,

Inc., 218 F.R.D. 262, 269 (S.D. Fla. 2003)). Here, Operator Plaintiffs’ proposed class definition

lacks objective criteria, and the definition confounds both the Operator Plaintiffs’ proposed class

representatives and their experts.

         Operator Plaintiffs’ motion for class certification asserts a class of “ATM Operators that

originated an Authorized Surcharged ATM Cash Disbursement at a Qualified ATM at any time

between October 1, 2007 and the present.”231 Operator Plaintiffs define ATM Operator as:

                any person or entity that owned, operated, or leased a Qualified ATM that
                was authorized by a Mastercard Member or Visa Member, or by the agent
                of such Member, to originate an ATM Cash Disbursement through the
                connection of the Qualifying ATM to the Visa or Mastercard ATM
                Networks.232

         Plaintiffs have provided no objective criteria to clarify what they mean by

“authorized . . . to originate” ATM transactions in the class definition. This language purports to

track the Visa definition of ATM Operator,233 and Visa understands this term to refer to entities

that have a written “ATM Operator Agreement” with a sponsoring bank.234 Visa specifically


231
      NAC Pls.’ Mot. Leave to File Corrected Br. Supp. Mot. Class Certification, Appendix A,
      Class Definition (ECF No. 154-1).
232
      Id.
233
      See supra note 146.
234
      Cheng Decl. ¶¶ 6–9; see also Ex. 117,

                                     .

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requires its sponsoring banks to maintain ATM Operator Agreements with all ATM operators so

that it can manage the risks posed by entities involved in the operation of an ATM connected to

the Visa/Plus network.235

         But Operator Plaintiffs have rejected any approach that relies on ATM Operator

Agreements to define the entities in their proposed class. When presented with actual



                                                               . Operator Plaintiffs testified, at

deposition or by declaration,



                                (i.e., an entity authorized to originate transactions at the ATM).236

         Operator Plaintiffs’ witnesses instead have offered internally inconsistent and non-

objective criteria to identify the entities that are authorized to originate an ATM transaction.

Operator Plaintiffs’ two experts—Drs. Zona and McAndrews—

                                                                                      .237 For




235
      Cheng Decl. ¶¶ 6–9.
236
      See Ex. 140, William Scot Gardner Decl. dated October 9. 2019 ¶ 7 (


                                                                         ); Ex. 26, SJI ATMs
      30(b)(6) Dep., 210:21–215:5; Ex. 99, Just ATMs 30(b)(6) Dep. 194:17–197:11 (testifying
                                                          ).
237
      See Ex. 103, Zona Dep. 86:1–88:10 (identifying


                                            ); Ex. 17, McAndrews Dep. 63:13–73:21 (identifying



                                                             ).

                                                 73
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example, Dr. Zona claims that

                                                        ” while Dr. McAndrews claims that

                                         .238 Ultimately, Dr. Zona conceded

                                                                                            .”239

         Named Operator Plaintiffs have been unable to say who is authorized to originate

transactions at various ATMs, or why, testifying that

                                ”240 One plaintiff testified that




238
      Ex. 103, Zona Dep. 88:5–89:1; Ex. 17, McAndrews Dep. 72:21–74:6.
239
      Ex. 103, Zona Dep. 86:15–17 (
               ); see also id. at 144:1–150:1 (clarifying that


                                               ).
240
      See Ex. 96, ATM Bankcard Services Dep. 110:25–112:2 (testifying that

                                                                           ); id. at 178:11–179:9
      (ATM Bankcard Services was

                            ); Ex. 32, TurnKey 30(b)(6) Dep. 95:13–96:6, 96:17–97:2 (testifying




                                  ); Ex. 99, Just ATMs 30(b)(6) Dep. 44:25–47:4 (testifying at



              ). See also SJI 30(b)(6) Dep. 247:8–20, 392:11–394:7 (testifying



                                                                    ).

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                              , while another testified that

                                                                                .241

          If a named representative cannot determine whether it meets the class definition, no

average entity would “be able to determine, simply by reading the definition, whether he or she

was a member of the proposed class.” Bynum, 214 F.R.D. at 32. With such an “amorphous” and

“imprecise” definition, there “can be no class action.”242 Young v. Nationwide Mutual Ins. Co.,

693 F.3d 532, 538 (6th Cir. 2012) (citation and quotation marks omitted).

          B.     The Proposed Classes Are Not Administratively Feasible

          Even if a proposed class is defined by some objective criteria, the “analysis of the

objective criteria must be administratively feasible.” Brewer, 2015 WL 13604257, at *5. In

other words, a plaintiff must show that the court would not be required to “answer numerous

fact-intensive questions before determining if an individual may join the class.” Williams v.

Glickman, No. CIV.A. 95-1149 (TAF), 1997 WL 33772612, at *4 (D.D.C. Feb. 14, 1997).

Classes have been held administratively feasible, for instance, when they require “little more”



241
      See Ex. 96, ATM Bankcard Services 30(b)(6) Dep. 30:1–31:24


                                                           ; Ex. 25, Trinity 30(b)(6) Dep. 30:8–19
      (




                                                                  ).
242
      Operator Plaintiffs proposed in their original complaint that the ATM operator is the entity
      that sets the surcharge. 2d Am. Class Action Compl., ECF No. 55, ¶ 112 (defining class as
      “[a]ll non-bank operators of ATM terminals, including registered ISOs and their affiliates,
      that operate ATM terminals located in the relevant geographic market with the discretion to
      determine the price of the ATM access fee for the terminals they operate and that have
      adhered to the defendants’ ATM restraints in transactions they have completed at any time on
      or after October 1, 2007 (‘independent ATM operators’)”).
                                                   75
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than perusing human resources records, see Brewer, 2015 WL 13604257, at *7, or cross-

referencing a database with a set of mail receipts, see Hardy v. D.C., 283 F.R.D. 20, 26 (D.D.C.

2012).

         None of the proposed classes meet this standard. At the outset, the significant

individualized factfinding described above would render this case inadministrable. Even setting

aside those issues, the administrative burden of this case would be enormous.

         For Consumer Plaintiffs, the proposed Mackmin and Burke classes are limited to class

members who paid surcharges that were not reimbursed, at bank or independent ATMs,

respectively. But none of the various datasets produced by parties and non-parties in this case

identifies either of these two sets of proposed class members, and Consumer Plaintiffs

themselves have offered no explanation for how the identification process could work.

         Although claims administrators in other cases commonly rely on claims forms submitted

by class members under penalty of perjury, that method would be untenable here. It is

unreasonable to expect the average cardholder to remember whether individual ATM

withdrawals, from years past, were from independent or bank-operated ATMs—let alone

whether the cardholder paid surcharges or had them reimbursed. Indeed, the putative class

representatives themselves cannot remember their individual ATM withdrawals. In response to

an interrogatory

            .243 And all of the Burke Plaintiffs admitted that

                            ”244 It is unreasonable to expect that other class members, who are



243
      See Ex. 141, Mackmin Pls.’ Objs. and Resps. to the Mastercard Defs.’ First Set of Interrogs.
      4–5; Ex. 142, Burke Pls.’ Fourth Am. Objs. and Resps. to the Mastercard Defs.’ First Set of
      Interrogs. 7–9.
244
      See Ex. 142, Burke Pls.’ Fourth Am. Objs. and Resps. to the Mastercard Defs.’ First Set of
      Interrogs. 8–9.
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likely less attuned to their ATM transactions than the representatives bringing this suit, would

have clearer recollections. And in any event, “any written submissions that do not give the

Defendant[s] an opportunity to challenge the memory or credibility of the individual making that

averment would provide inadequate procedural protection to the Defendant[s].” Perez v.

Metabolife Int’l, Inc., 218 F.R.D. 262, 269 (S.D. Fla. 2003).

         A claims administrator would have to conduct a line-by-line review of ten years of bank

records—to the extent they exist and to the extent they reflect the necessary information—for

each U.S. cardholder to determine whether the cardholder incurred any unreimbursed surcharge

fees at a bank-owned ATM and/or at an independent ATM. This review would be hampered by

the fact that the existence of a surcharge is not always on the bank record but rather sometimes

has to be inferred from the amount of the withdrawal.245 And, to further complicate matters,

bank statements often do not identify whether a withdrawal took place at an independently

operated ATM (part of the proposed Burke class), at another bank’s ATM (part of the proposed

Mackmin class), or at the cardholder’s own bank’s ATM (part of no class at all).246 Thus, the

claims administrator would have to investigate who operated the ATM at a particular location—

some five or ten years ago. And even then, such a determination may require a terminal-by-




245
      See, e.g., Ex. 143,
                                                                                          ; Ex. 144,
      Osborn Dep. Ex.,
                                                                                      .
246
      See, e.g., Ex. 145, Osborn Dep. Ex.,

                    Ex. 33, Osborn Dep. 91:4–7
                                                                                 Ex. 146,




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terminal analysis, entailing review of contracts from the relevant ATM operators. Further, if a

cardholder has a joint account, the statement is unlikely to show which individual cardholder

paid any particular surcharge.247

            On top of all this, the Mackmin Plaintiffs present an additional level of complexity:

because their proposed class definition encompasses all access fees paid “directly to any Bank

Defendant or Bank Co-Conspirator,”248 a claims administrator would need to analyze whether

surcharges at any particular ATM were paid directly to a bank. This would be particularly

unclear for ATMs that are bank-owned, but located off-site (such as at convenience stores, or

airports), because of the variations in contractual relationships between the banks and these

locations.249 It would be difficult, if not impossible, for a claims administrator to determine

whether, and what amount of, access fees are paid “directly” to the bank in those instances.

            Operator Plaintiffs fare no better. Neither of Operator Plaintiffs’ experts claims to have

identified all class members, or to know of a dataset containing all class members.250 And even



247
      See                                      (acknowledging

                       ).
248
      2d Am. Class Action Compl., ECF No. 84, ¶ 130.
249
      See, e.g., Ex. 147,

                                                ; Ex. 148,


                  .
250
      See Ex. 103, Zona Dep. 91:20–92:1 (

              ); Ex. 17, McAndrews Dep. 70:5–8 (

                             ).
          While plaintiffs may attempt to point to defendants’ transaction-level data to help
      establish ascertainability, the data itself must be established as actually useful for identifying
      class members. See Karhu v. Vital Pharm., Inc., 621 F. App’x 945, 948 (11th Cir. 2015)

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if some form of contract review could identify class members, it would be administratively

infeasible to attempt to do so; these are not typical contracts. Operator Plaintiffs’ industry

expert Dr. McAndrews correctly testified that

       ,251                                                             .252 Moreover, according to

Operator Plaintiffs,                                             .253
                                               254
                                                     According to one named plaintiff,



      .255 Another plaintiff stated that



                               .256



      (finding plaintiff could not meet the burden of establishing that the class was identifiable in
      an administratively feasible manner, where he only provided defendants’ sales data as a
      means to identify class members, since the data identified “mostly third-party retailers, not
      class members”). Dr. Zona concedes                                                              .
      See Ex. 103, Zona Dep. at 115:5–116:2 (testifying



                  ).
251
      See Ex. 17, McAndrews Dep. 94:20–95:21.
252
      See id. at 95:22–97:2 (testifying that
                   ).
253
      See id. at 97:3–13; see also supra note 159.
254
      Ex. 17, McAndrews Dep. 114:4–115:5.
255
      See Ex. 99, Just ATMs 30(b)(6) Dep. 305:13–23



                             . See also Ex. 26, SJI ATMs 30(b)(6) Dep. 401:16–403:17 (testifying

                                                          ).
256
      See Ex. 26, SJI ATMs 30(b)(6) Dep. 172:15–22




                                                     79
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         The process of determining who is a member of the class would thus require a

combination of contract review, affidavits or other fact testimony on oral agreements and

understandings, as well as expert opinion on “industry convention.” Given conflicting and

inaccurate records, identifying class members would involve fact-intensive credibility and

authenticity determinations. That is precisely the kind of determination that requires a jury, not a

claims administrator.

V.       The Proposed Classes Do Not Merit Rule 23(b)(2) Certification

         The Burke and Mackmin Plaintiffs257 likewise fail to carry their burden to certify classes

under Rule 23(b)(2).258 A Rule 23(b)(2) class is appropriate only where the defendant “has acted

or refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). Put another way, a (b)(2) class is permissible only where “a single injunction” would

“provide relief to each member of the class.” Wal-Mart, 564 U.S. at 360–61; see also Blackman,

633 F.3d at 1094 (Brown, J., concurring) (explaining that “cohesiveness is a significant

touchstone of a (b)(2) class”). The proposed (b)(2) classes are not “cohesive” because, if the

rules at issue were eliminated, some class members would be subjected to higher surcharges,

rather than being granted relief.

         To contend otherwise, Consumer Plaintiffs discount the possibility that their injunction

would injure, rather than provide relief to, those putative class members with cards enabled only



                  ; Ex. 140, William Scot Gardner Decl. dated October 9. 2019 ¶ 7; Ex. 26, SJI
      ATMs 30(b)(6) Dep. 210:1–215:5.
257
      Although the Operator Plaintiffs allege a Rule 23(b)(2) class in their complaint, see 2d Am.
      Class Action Compl., ECF No. 55, ¶ 112, they did not move for class certification on this
      basis.
258
      See Mackmin Pls.’ Br. at 54; Burke Pls.’ Br. at 30–31.

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for Visa/Plus or Cirrus.259 But they are wrong to do so. ATM operators have testified that



                             ”260



             ,261

             .262 Thus, without the NDRs to protect them, Visa/Plus- and Cirrus-only cardholders

could likely face higher surcharges.263

         The divergent interests between such cardholders (for whom the injunctive relief sought

would be a detriment) and other cardholders (for whom injunctive relief might create a

hypothetical benefit) create the sort of intra-class conflict that has previously defeated

certification. See Richardson v. L’Oreal U.S., Inc., 991 F. Supp. 2d 181, 203 (D.D.C. 2013)

(denying certification, in part, on cohesiveness grounds where certain class members have

stronger claims than others). A class is not cohesive when some of its members’ interests are at

odds with the chosen remedy.



259
      As stated above, Professor Hubbard estimates
                                                                                       Hubbard Rep.
      ¶ 267.
260
      Ex. 104, ATMs of the South 30(b)(6) Dep. 150:24–151:5 (explaining

                                                                                             ).
261
      Ex. 105, Selman 30(b)(6) Dep. 323:22–324:5 (agreeing that

                                              ).
262
      Ex. 26, SJI 30(b)(6) Dep. 301:6–302:7 (admitting
                                                                           ).
263
      See also Ex. 96, ATM Bankcard Services 30(b)(6) Dep. 202:8–14 (expressing

                    ); Ex. 105, Selman 30(b)(6) Dep. 318:19–319:18 (explaining that,

                                    ); Ex. 32, TurnKey 30(b)(6) Dep. 54:10–18 (explaining
                                                                          ).
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VI.       Burke Plaintiffs Are Inadequate Class Representatives

          Although the Burke Plaintiffs’ failure to meet their burden under Rule 23(b)(3) and (b)(2)

precludes certification, their motion fails for another, independent reason: they cannot make the

requisite threshold showing under Rule 23(a), either. Rule 23(a)(4) imposes an ongoing burden

to demonstrate that “the representative parties will fairly and adequately protect the interests of

the class.” Fed. R. Civ. P. 23(a)(4). “Among other requirements, the rule ‘mandates an inquiry

into . . . the willingness and ability of the representative to take an active role in and control the

litigation and to protect the interests of the absentees.’” Borum v. Brentwood Assocs., L.P., 329

F.R.D. 90, 94 (D.D.C. 2019) (quoting Nat’l Ass’n for Mental Health, Inc., 717 F.2d at 1458).

But the Burke class representatives’ own testimony shows that they are unfamiliar with even the

basic contours of the case, let alone willing to take an “active role.”

          A putative class representative must demonstrate that he or she is informed about the

relevant facts alleged, see Harris v. Koenig, 271 F.R.D. 383, 391 (D.D.C. 2010), and that the

class representatives, rather than their lawyers, are directing the litigation, see Borum, 329

F.R.D. at 94 (quoting Nat’l Ass’n for Mental Health, 717 F.2d at 1458). For example, courts

have found a class representative inadequate where he lacked sufficient familiarity with the suit,

such that he could not describe his claim and “was not even certain that he had seen a copy of the

complaint before his deposition.” Weisman v. Darneille, 78 F.R.D. 669, 671 (S.D.N.Y. 1978).

The Burke class representatives cannot clear even this modest hurdle.



                                                                                       264




264
      See Ex. 34, Heiskell Dep at 35:6–8; Ex. 114, Byrnes Dep. at 136:6–10; Ex. 149, Harrison
      Dep. at 26:1–7; Ex. 35, Burke Dep. at 179:6–19.

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Representatives Kent Harrison, Peter Burke, and Brian Byrnes testified that

                                                           .265 The remaining class representative,

Marin Heiskell, testified that



                                    .266

         Moreover, not one of the Burke class representatives



                                 .267 Instead, their testimony revealed

                                                                 . For example,




              ”268 And Heiskell and Byrnes believe that

            .269 Although there is no reason to doubt the Burke class representatives’ credibility or

good faith, their lack of engagement in the most fundamental aspects of their case renders them

inadequate to represent the interests of the proposed class. Their motion for class certification

should therefore be denied.




265
      See Ex. 149, Harrison Dep. at 26:8–10; Ex. 35, Burke Dep. at 174:25–175:5; Ex. 114, Byrnes
      Dep. at 136:4–12.
266
      See Ex. 34, Heiskell Dep. at 35:2–5; 144:12–15.
267
      See Ex. 35, Burke Dep. at 176:9–177:9; Ex. 34, Heiskell Dep. 34:23–35:1; id. at 140:14–18;
      Ex. 149, Harrison Dep. at 28:16–19; Ex. 114, Byrnes Dep. at 134:20–135:2.
268
      Ex. 35, Burke Dep. at 173:24–174:3; id. at 175:14–18.
269
      See Ex. 34, Heiskell Dep at 140:14–18; 30:19–24; Ex. 114, Byrnes Dep. at 53:14–24.

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VII.     Burke Plaintiffs Have Failed to Show Their State-Law Claims Can Be Resolved on a
         Class-Wide Basis

         Finally, the Burke Plaintiffs seek certification of state-wide classes under California,

Illinois, Massachusetts, and Michigan law, but they fail to make any legal or factual argument

supporting that effort.270 These classes should be rejected.271

                                           CONCLUSION

         None of the plaintiff groups can prove class-wide injury with common evidence. None

of them properly accounts for the “two-sided” market analysis required by the Supreme Court’s

decision in Amex, or proposes a definite and administratively feasible class. For these and the

other independently sufficient reasons stated above, defendants respectfully request that this

Court deny plaintiffs’ motions for class certification with prejudice.




270
      See Burke Pls.’ Br. at 9.
271
      Although the Mackmin Plaintiffs have also alleged state-law claims, see 2d Am. Class Action
      Compl., ECF No. 84, ¶¶ 199–211, they have not sought to certify any statewide class on the
      basis of those allegations.
                                                  84
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      Washington, DC

                                       Respectfully submitted,

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